Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 1 of 84 Page ID #:12




                   EXHIBIT A
        Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 2 of 84 Page ID #:13
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                                             (C/TA C/ON JUDICIAL)
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            (AVISOAL DEMANDADO):                                                                                                   orlor
                                                                                                                                    00lY Cf Last California
                                                                                                                                                   Anniston
    •       ANGIE'S LIST, 1NC.a Delaware corporation;
            1A/1NTERACT1VECORP, It Delaware Corporation; (see attachment)
                                                                                                                                    SEP 0 92019
            YOU ARE BEING SUED BY PLAINTIFF:
            (LO ESTA DEMAWDA WOO EL DEMANDANTE):                                                                      Shorn I?. flrtey, Exect tWo OUIIICe/R ot cou,,
             PRO WATER SOLUTIONS, u Culifomla corporation, individually and                                                    By: lsaao Lovo,
                                                                                                                                               Deputy
             on behalf of itself, all others similarly situated, and the general public
             NOTICE You have been sued. The court may decide against you witheutyotir being "00(0 UfllOsS YOU responD Witnifi iU Days. K000 Inc 111101Th5UOfl
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                You have 30 CALENDAR DAYS after this summons and legal papers are served an you to moo written response at this court and hove a copy
             served an the plaintiff. A letter or phone call will not protect you. Your written response mist be in proper legal (cnn if you want the court to hear your
             case. There may be a court form that you can use for your response. You can fInd those court forms and more information at the California courts
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•            may be taken without further warning tram the court.
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•            (wi,.sv.coufl/nto,ca,govao/Tho/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived roes and
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             312N. Spring St., Los Angeles, CA 90012

            The name, address, and telephone number or plaintiffs attorney, or plointlff without on attorney, is:
            (F! oem/ira, to direct/Op yo/ nflmero do (etdtono dot obcnda dof domondante, a dot domondants quo no t/onre abogacto, Os):
            Paul T. Cullen; Cullen Law Firm, 1 9360 Rinaldi St., Box 647; Porter Ranch CA 91326; tel 818 360 2529
                           a-fl 'inRfl    SHERRI ft CARTER
            DATE:        SEP
                           U V tutu                                Cleric by                                    Deputy



                  pruabe do ontrega do Oslo oltoUOri use c/form u/otto Proof of SaMoa of Summons, (P05-019
                                           NOTICE TO THE PERSON SERVED: You are served
                                                      C as an Individual defendant.
                                                      C as the parson sued Under the fictitious name of (specify):
                                                  .   cX:) on behalf o1(spec//):ANGIE'S LIST, INC., a Delaware corporation
                                                      under: EM       COP 41610 (corporation)                                 CCP 416.60 (mInor)
                                                              C       CCP 416.20 (defunct corporation)                cJ      CCP 416.70 (cunservatea)
                                                              C       CCP 41640 (association or parbiership)                  CCP 418.90 (authorized person)

                                                              C other (specify):
                                                 4.   C     by   personal delivery on (dale):                                                                   a.. 4




                                                                    Exhibit A Page 12
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 3 of 84 Page ID #:14




                                                                                                                             SUM-200(A)
     SHORT TITLE:                                                                                CASE NUMBER:

   -   PRO WATER SOLUTIONS v. ANGIE'S LIST et at.

                                                         INSTRUCTIONS FOR USE.
    + This form may be Used as an attachment to any summons If space does not permit the listing of all parties on the summons.
    + If this attachment Is used, Insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form Is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

       C    Plaintiff          Defendant      C Cross-Complainant = Cross-Defendant
    ANGI HOMESERVICES INC., a Delaware corporation, and DOES 1 through 100




                                                                                                                  Page 1 of I

                                           ADDITIONAL PARTIES ATTACHMENT
                                                 Attachment to Summons




                                                   Exhibit A Page 13
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 4 of 84 Page ID #:15




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                Paul T. Cullen, Esq, (#193575)                                     onIGlWAL fILED
                THE CULLEN LAW FIRM, APC                                        Superior Court of California
           2    19360 Rinakll Street, Box 647
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           3    Porter Ranch, CA 91326                                               SEP 0 8 '1019
                Tel; (818) 360-2529
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           5
                Attorneys for Plaintiff
           6
                PRO WATER SOLUTIONS, INC., a California corporation
           7
                                     SUPE1UOR COURT OF THE' STATE OF CALIFORNIA
           8
                FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
           9

          10
                PRO WATER SOLUTIONS, INC.                       Case No.   19S1CV31643
          11    a California corporation, individually
                and on behalf of itself, all others similarly   (Class Action, Cal Code Civ, Proc. §382)
          12
                situated, and the general public,
          13                                                    COMPLAINT FOR DAMAGES
                        Plaintiff,
          14
                        kv
          15                                                    DEMAND FOR JURY TRIAL
          16
                ANGIE'S LIST, INC., a Delaware
          17    corporation; IAC/II4TERACT1VECORP, a
                Delaware Corporation; ANGI
          18    HOMESERVICES INC., a Delaware
                corporation, and DOES 1 through 100,
          19
                       Defendants,
          20
          21
          22
          23

          24
          25
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          27

          28

                                                 COMPLAINT FOR DAMAGES




                                        Exhibit A Page 14
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 5 of 84 Page ID #:16




                          Plaintiff, PRO WATER SOLUTIONS, INC., on behalf of itself, all others similarly

             2   situated, and the general public (hereinafter 'Plaintiff' or "PWS") tiles this Complaint against

             3   Defendants ANGIE'S LIST, INC., a Delaware corporation (hereinafter "Angie's List"),

             4   IAC/TNTERACTTVECORP, a Delaware corporation (hereinafter "IAC"); ANGI
                 HOMESERVICES INC., a Delaware corporation, and DOES Ito 100, inclusive (hereinafter

             6   collectively referred to as "Defendants").

             7            The allegations set forth in this complaint are based upon the personal knowledge of

             8   Plaintiff as to its own acts, and upon information and belief as to all other matters, based upon,

             9   among other things, the investigation undertaken by its counsel from information that is

            10   publicly available.

            II

            12                                                    I.

            13                                     GENERAL ALLEGATIONS
H



            14       I.          Pursuant to California Code of Civ. Proc. ("COP") § 382, California Business

            15   and Professions Code ('13&PC") §§ 17200, et seq., and other statutory and common law as set

            16   forth below, PWS has filed this action, seeking class action treatment, to recover damages,

            17   penalties and restitution from Defendants for their violations of, inter a/ia, the aforementioned

            18   laws.

            19                   The acts complained of herein have occurred, are presently occurring, and are

           20    expected to continue occutTing, within the time period from four years preceding the filing of

            2!   the original Complaint herein plus such periods of time for tolling of the applicable statutes of

           22    limitations, up to and through the time of trial for this matter (hereinafter, the "Relevant Time

           23    Period").

           24                    Since about October 2017 and perhaps earlier, Defendants have been engaged in

           25    a pattern of fraudulent, deceitful and intentionally harmful. activity in violation of both

           26    statutory and common law that has resulted in material losses to Pro Water Solutions, Inc. and

           27    the Plaintiff Class.

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                                                                  2
                                                  COMPLAINT FOR DAMAGES




                                             Exhibit A Page 15
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 6 of 84 Page ID #:17




          1                 Defendant Angie's List operates as an online resource for paid subscribers

         2    (Angie's List "Members") and website users among the general public ("Consumers") to assist

         3    them in locating and evaluating Service Providers like Plaintiff and other businesses.

         4                  in addition to charging Angie's List Members a subscription and/or membership

         5    fee to use the site, Angie's List also charges Service Providers that seek to advertise their

         6    services on the Angie's List website.

         7                  Service Providers like Plaintiff pay Angie's List upwards of $800 per month to

         8    be listed on the Angie's List website as a Service Provider in the hopes of obtaining business

         9    leads and new customers from Angie's List website users (hereinafter, the "User(s)").

        10                  Angie's List Members and Consumers, who are the Users referred to in the

        1.1   preceding paragraph, may register with Angie's List and submit ratings and reviews based

        12    upon their experience with using a certain Service Provider.                         p

        .13                 Information submitted by Users regarding their experiences with Service

        14    Providers is made available on the Angie's List websitc to enable other Users to determine

        15    which Service Provider to use for a particular service.                                          -




        16                  Service Providers with an excellent rating on the Angie's List website have

        17    historically benefited from advertising on the Angie's List website, because Angie's List

        18    Members and Consumers consider Service Providers' ratings on the Angie's List when

        19    selecting a service provider for a particular project.

    -   20            -     Indeed, Angie's List historically appeared to have been quite scrupulous in

        21    assuring that the reviews and ratings of Service Providers on the Angie's List website were

        22    authentic reviews and not provided by relatives of Service Providers' personnel.

        23                  Moreover Angie's List also appeared to have scrutinized reviews and ratings to

        24    ensure that they were not from individuals who likely had not actually used the services of an

        25    Angie's List Service Provider (e.g. a User whose comments and ratings emanated from a

        26    computer outside the geographic area serviced by the Angie's List Service Provider).

        27                  For Plaintiff, which started advertising on the Angie's List website in or about

        28    March of 2011, Angie's List provided a tremendous source of quality business leads.

                                                               3
                                              COMPLAINT FOR DAMAGES




                                         Exhibit A Page 16
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 7 of 84 Page ID #:18




                  13.         After the economic downturn in 2009, the source of leads provided by Angie's

          2   List was a virtual lifeline for Plaintiff and other Angie's List Service Providers.

          3       14.         Because of the quality of the leads generated by Angie's List, Plaintiff deemed

          4   the payment of upwards of $800 per month to Angie's List a reasonable investment to obtain

          5   solid business leads.

          6      15.          Due in part to its excellent ratings on Angie's List, Plaintiff not only was able to

          7   weather the long economic downturn that began in 2009, but it expanded operations.

          8      16.          Since 2011 until earlier this year, Plaintiff was a registered Service Provider for

          9   the Angie's List website.

         10      17.          To be a registered Service Provider, Plaintiff, and all other Service Providers

         11   have been required to and in fact have completed an online registration with Angie's List,

         12   which registration incorporates ahyperlinked document containing Angie's Lists Service

         13   Provider's User Agreement.

         14      18.          Two separate Service Provider's User Agreements can be found on the Angie's

         15   List website,

         16      19.          "Version 1.0," which is listed as having been effective April 7, 2017 to

         17   November 3, 2017 is attached hereto as Exhibit "A" and may be referred to hereinafter as

         18   SPUA 1.0.

         19      20.          "Version 2.0 (Current)," which is listed as being effective November 3, 2017 is

     -   20   attached hereto as Exhibit "B" and may be referred to hereinafter as SPUA 2.0. Collectively

         21   SPUA 1.0 and SPUA 2.0 may be referred to as the SPUAs.

         22      21.          Any person that wishes to become an Angie's List Service Provider appears to

         23   be required to agree with both the applicable SPUA and the Angie's List Privacy Policy a copy

         24   of which is attached hereto as Exhibit "C."

         25      22.          Angie's List makes specific, uniform representations to Service Providers and to

         26   the public at large in both of the SPUAs regarding a variety of items.

         27      23.          For purposes of this lawsuit, however, the key representation at issue relates to

         28   how Angie's List represents that it will treat telephone numbers, email addresses and facsimile

                                                                4
                                               COMPLAINT FOR DAMAGES




                                          Exhibit A Page 17
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 8 of 84 Page ID #:19




              numbers that are submitted to Angie's List when Service Provider register online with Angie's

         2 I list.

         3                   Specifically, the SPUAs state as follows:

         4       "The [Service Provider] Company acknowledges that Angie's List will use the

         5       telephone numbers, email addresses and facsimile numbers that are submitted to

         6       Angie's List in connection with registering with Angie's List to contact the [Service

         7       Provider] Company with information regarding Angie's List, Angie's List agrees

         8       not to sell, trade, rent or share such information with any third parties." (See

         9       Exhibit A, p. 12 at the first full paragraph and Exhibit B, p. 12, at the second full

        10      paragraph. Emphasis added.)

        11                  Notwithstanding these specific and uniform written representations, upon which

        12    Service Providers are entitled to and do reasonably rely, Angie's List routinely engages in a

        13    practice whereby it sells, trades, rents or shares the aforesaid Private Information with third

        14    Parties, not just for Plaintiff, but for all of its Service Providers throughout the United States.

        15                  Although it is unknown precisely when Angie's List started engaging in this

        16    unlawful practice of selling, trading, renting or sharing the Private Information, it is believed to

        17    have begun shortly after Defendant IAC acquired Angie's List in or about 2017, in a complicated

        18    series of transactions, whereby Defendant Angie's List became a subsidiary of Defendants

        19    ANGI HOMESERVICES and/or JAC.

        20                  in what is a very clever scheme, Angie's List surreptitiously charges Plaintiff and

        21    the Service Provider Class Members between $8 to upwards of $90 per lead for the leads

        22    generated by the Angie's List website.

        23                  It does not do so directly, as the Angie's List SPUAs have no contract terms that

        24    allow Angie's List to charge its Service Providers for the leads generated by the advertising

        25    dollars that Angie's List Service Providers pay Angie's List to be listed on the Angie's List

        26    wcbsite.

        27                  Instead, whenever an Angie's List website User completes a questionnaire seeking

        28    a list of Service Providers on the Angie's List website, Angie's List secretly transfers the leads

                                                                5
                                               COMPLAINT FOR DAMAGES




                                         Exhibit A Page 18
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 9 of 84 Page ID #:20




         I   generated in this procedure to another company, that is a third-party to the contract between

         2   Angie's List and its Service Providers, but one that is also owned and/or controlled by

         3   Defendants ANGI HOMESERVJCES and/or JAC, namely non-party HomeAdvisor, Inc.

         4       30.       In other words, Angie's List and HomeAdvisor are both under the common

         S   ownership of Defendants ANGI HOMESERVTCES and/or JAC.

         6       31.       In secretly transferring these Leads to HomeAdvisor, Angie's List provides

         7   HomeAdvisor with the very information about the Service Provider that Angie's List

         8   specifically agreed in its SPUAs "not to sell, trade, rent or share.., with any third parties[,]"

         9   namely "the telephone numbers, email addresses and facsimile numbers that are submitted to

        10   Angie's List in connection with [a Service Provider] registering with Angie's List......

        II       32.       Thus, if an Angie's List Service Provider also has a membership with

        12   HomeAdvisor, as is the case with the Plaintiff here, whenever an Angie's List User logs into the

        13   Angie's List website seeking to hire a service professional, the lead generated from the data the

        14   Angie's List User puts into the Angie's List website interface is automatically and

        15 instantaneously transferred to HomeAdvisor, along with the Angie's List Service

        16   Provider's(fProviders') contact information.

        17      33.        HomeAdvisor then immediately sends the User's information out to multiple

        18   service providers (typically at least four service providers), debiting each such service provider

        19   between $8 to upwards of $90 per lead upon transmission of said lead.

        20      34.        This process by which this information is transferred is fully automated and nearly

        21   instantaneous, demonstrating the calculated nature of the scheme to defraud.

        22      35.        In a single website interaction by an Angie's List User seeking a Service Provider,

        23   Angie's List and the defendant companies that own and/or control Angie's List and

        24   HomeAdvisor, not only derive income from the monthly advertising fees paid by Angie's List

        25   Service Providers, like Plaintiff,they also surreptitiously derive substantial additional income

        26   from fees foisted upon the Angie's List Service Providers under the guise of said fees being for

        27   leads coming from HomeAdvisor (and not coming from Angie's List's website).

        28
                                                             6
                                             COMPLAINT FOR DAMAGES




                                       Exhibit A Page 19
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 10 of 84 Page ID #:21




         I                  Of course, the defendants derive additional revenues from the multiple additional

         2    service providers to whom HomeAdvisor disseminates leads derived from Angie's List, and it

         3    disseminates these leads to service providers who may not even be registered Angie's List

         4    Service Providers.1

         5                  Angie's List Service Providers, like Plaintiff, are provided no information by

         6    HomeAdvisor suggesting that the HomeAdvisor lead was generated by the Angie's List website.

         7                  The economics of the transactions render the fraud nearly undetectable.

         8                  From the Angie's List Service Providers' perspective, they do not expect to be

         9    charged by Angie's List for leads generated by the Angie's List website, as there is no

        10    contractual agreement requiring the Service Providers to make any such per lead payments.

        11                  In contrast, however, if an Angie's List Service Provider is also a service provider

        12    for HomeAdvisor, that service provider would expect to pay per lead for the leads received from

        13    HomeAdvisor.

        14                  Thus, Angie's List Service Providers reasonably, but nonetheless incorrectly,

        Is    assume that the per lead fees they pay to HomeAdvisor are for leads are actually derived from

        16    HomeAdvisor and not derived from Angie's List (and, in turn, "redirected" to HomeAdvisor

        17    from Angie's List).

        18                  From the perspective of an Angie's List User, who puts data into the Angie's List

        19    wcbsitc interface (filling out a step-by-step questionnaire) in order to elicit a list of

             -recomniettded Angie's LisfrServiccProfcssiona1s1the Angi&s List-website-Users are typically-_.

        21    contacted directly by telephone or email by at least one of the Angie's List Service Providers

        22    listed on the Angie's List website interface after the User has completed the questionnaire.

        23                  Since neither Angie's List nor HomeAdvisor charge their website users any fees

        24    to use their websites to locate service providers, users typically have Little or no interest in die

        25    fees that are being charged to the service providers behind the scenes.

        26
        27     That means that registered Angie's List Service Providers, who are not also service providers
             registered with HomeAdvisor are being placed in competition with HomeAdvisor registered
        28   service providers, who have not paid for the advertising on the Angie's List website that
             created the customer lead in the first place.
                                                               7
                                              COMPLAINT FOR DAMAGES




                                        Exhibit A Page 20
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 11 of 84 Page ID #:22




          1        44.       Unless after having completed the Angie's List website questionnaire, an Angie's

          2    List website User were to specifically ask the Angie's List Service Provider(s) that contacted

          3    the User if the Service Provider(s) was(/were) provided the User's information from Angie's

          4    List (and not from HomeAdvisor), the User would have no idea that the information that the

          5    User put into the Angie's List website interface had been surreptitiously transferred to

         6     HomeAdvisor for a fee.

          7        45.       By making this process by which Angie's List Users obtain a list of Service

          S    Providers from its website to be virtually opaque, Angie's List and its codefendants have been

          9    able to perpetrate a massive fraud upon their Service Providers.

        10        46.        It was only when Plaintiff noticed that the Angie's List website seemed to have

         II    become ineffective as a means of advertising, that Plaintiff began to wonder why it was paying

        12     for advertising on the Angie's List website at all, particularly when it was paying Angie's List

        1.3    over $10,000 per year.

        14        47.        Through investigation, Plaintiff learned that Angie's List website Users seeking

        15     contractors in the water treatment business (the area of specialty for Plaintiff) would be given a

        16     list of potential Service Providers.       Virtually simultaneously, Angie's List shared the

        17     information about that same Angie's List website User with I-IomeAdvisor. As a result of the

        18    sharing, flomeAdvisor contacted Plaintiff about this Angie's List website User and charged

        19     Plaintiff for that information. Thus, Plaintiff was charged twice for the same lead, once by

        20    -Angie's Listfor Plaintiff's subscription and again by HomeAdvisor forthe "tip" or "lead" which
        21    originated from Angie's List. Plaintiff observed this process occur on several occasions.

        22        48.        Given the instantaneous and automated nature of this lead "redirection" Plaintiff

        23     observed, and not perceiving that defendants were specifically targeting Plaintiff alone, Plaintiff

        24    concluded that the same "redirection' of leads from Angie's List to HomeAdvisor has happened

        25     and continues to happen with all Service Providers that are Service Providers for both Angie's

        26     List and HomeAdvisor, such as Plaintiff.

        27
        OCR
                                                                8
                                               COMPLAINT FOR DAMAGES




                                         Exhibit A Page 21
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 12 of 84 Page ID #:23




              1                 When Plaintiff learned that leads, i.e. leads that rightfully should have come

              2   directly to Plaintiff, were instead "redirected" from Angie's List to HorneAdvisor, he

              3   complained to FTo.meAdvisor.

             4                  A HorneAdvisor agent, who represented herself to be a supervisor, called the

                  process a "redirection to an affiliate," and told Plaintiff that having one's business leads
              6   redirected (from Angie's List to a third party in direct violation of the Angie's List SPUAs) is

              7   simply "a risk factor with advertising."

                                Plaintiff vehemently disagrees.

              9                 Agreeing to advertise on a website pursuant to a written contract does not justi fy

            10    the kind of fraud perpetrated by the defendants herein by "redirecting" customer leads to third

             Ii   parties, particularly when this "redirection" is in clear breach of material terms of the written

            12    contract between the parties and when Plaintiffs pockets are pilfered in the process.

            13                  As Plaintiff came to believe his advettising with Angie's List had become

            14    virtually worthless, he was not inclined to sign on for another year of advertising with Angie's

            15    List.

            16                  A couple of months before his term was about to expire earlier this year, Angie's

            17    List agents began to hound Plaintiff, pressuring him to renew.

            18                  To amplify the pressure on Plaintiff, Angie's List took Plaintiffs information off

            19    its website before the end of Plaintiff's annual advertising term, in direct breach of Angie's

-           20    List obligationto pr6vid6 the idertising for which Plaintiff had already paid;        -      -      --




            21                  Defendant Angie's List even debited Plaintiffs credit card for a month when

            22    Plaintiffs information was not advertised on its website.

            23                  When Plaintiff disputed the debit through his credit card, in a classic shake down

            24    tactic designed to keep Plaintiff paying for Defendant Angie's Lists "services," Defendant

            25    Angie's list began threatening Plaintiff, in writing, with sending Plaintiffs account to third

            26    party collections and adversely affecting Plaintiffs credit rating.

            27                  Even at present, Defendant Angie's List continues to threaten Plaintiff with

            28    adverse consequences (including, but not limited to collection) if Plaintiff does not pay for

                                                                   9
                                                  COMPLAINT FOR DAMAGES




                                            Exhibit A Page 22
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 13 of 84 Page ID #:24




          1   advertising services that Angie's List failed to provide in conformity with its contractual
          2   obligations.

          3       59.        As such, Defendant Angie's List along with debt collection firms, whose

          4   identities are not presently known, engage in meritless debt collection practices, seeking to

          S   coerce Plaintiff and Class Members into either

          6                  paying for services that have not been provided, or

          7                  continuing to pay defendants to remain listed as Service Providers on the

          S                  Angie's List website, notwithstanding the illusory value of the same.

          9

        10                                                    IL

         II                                    JURISDICTION AND VENUE

        12        60.        This Court is the proper court and this action is properly filed in the County of

        13    Los Angeles and in this judicial district because Defendants do business in the State of

        .14   California and the County of Los Angeles, and because a substantial portion of Defendants'

        15    obligations and liability arise therein.

        16

        17                                                   III.

        18                                                PARTIES

        19    NAMED PLAINTIFF

        20       61.    '    Plaintiff PWS is a California corporation that, at all relevant times mentioned in

        21    this complaint, has been domiciled in the State of California.

        22    DEFENDANT ANGIE'S LIST, INC.

        23       62.         Defendant Angie's List, Inc., is a corporation organized and existing under the

        24    laws of the State of Indiana with its principal place of business located at 1030 East

        25    Washington Street, Indianapolis, Indiana 46202, and it is a wholly owned subsidiary of

        26    Defendant ANGI HOMESERVICES INC.

        27


                                                         to
                                               COMPLAINT FOR DAMAGES




                                         Exhibit A Page 23
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 14 of 84 Page ID #:25




              1    DEFENDANT ANGI HOMESERVICES INC.

              2                  Defendant ANGI HOMESERVICES INC. is a corporation organized and in

              3    existence under the laws of the State of Delaware with its principal place of business located at

              4    14023 Denver West Parkway, Building 64, Golden, Colorado 80401

              5    DEFENDANT IACI1NTERACTIVECORP

              C)                 Defendant ]AC is a corporation organized and in existence under the laws of tire

              7    State of Delaware with its principal place of business located at 555 West 18th Street, New

              8    York, New York. IAC is a media and Internet company that owns more than 20 operating

              9    businesses comprising over 150 brands and products, including ANGI Homeservices.

            10     DOE DEFENDANTS

             II                  The trite names and capacities of the defendants sued herein as DOES I through

            12     100, inclusive, are currently unknown to Plaintiffs, who therefore one such defendants by ouch

            13     fictitious names. Each of the defendants designated herein as a DOE is legally responsible in

            14     some manner for the unlawful nets referred to herein. Plaintiffs will seek to add to this

            15     Complaint the actual names, capacities and roles of the DOE defendants when such identities

            16     become known.

            17                   Excluded from the nationwide Class and the Subclasses are the following:

            18     Defendants, any entity in which any Defendant has a controlling interest, and each
H




            19     Defendant's officers, directors, affiliates, legal representatives, employees, co-conspirators,

            20     successors, subsidiaries, and assigns; governmental entities; and, any judge or magistrate

            21     presiding over this action, as well as their immediate family members.

            22        67,        Defendants IAC and ANGI HOMESERVICES INC. both exert pervasive

            23     operational control over defendant ANGIE'S LIST, INC.

            24        68.        In documents publicly filed with the United States Securities and Exchange

            25     Commission ("SEC"), ANGI HOME SERVICES INC. routinely refers to ANGIE'S LIST,

            26     INC. as one of its digital home service brands, and it combines accounting for ANGIE'S LIST,

            27     INC. with that of nonparty FlomeAdvisor and itself.

            28

                                                   COMPLAINT FOR DAMAGES




                                             Exhibit A Page 24
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 15 of 84 Page ID #:26




         1                   Further demonstration of IAC's exertion of control over ANGIE'S LIST, INC.

         2   can be seen in a multitude of documents that have been filed by defendants with the SEC,

         3    including, but not limited to proxy statements filed by ANGIE'S LIST, INC. in connection

         4   with its acquisition by ANGI HOME SERVICES INC. in 2017, including, but not limited to

         5   agreements by Angie's List not to take a laundry list of specified actions without prior written

         6   consent of LAC, such as agreeing not to "acquire, or permit any subsidiary to acquire, any

         7   other person or business or make any loans, advances or capital contributions to, or

         8    investments in, any other person or entity with a value in excess of $250,000 in the

         9   aggregate... [Not to] incur, assume, guarantee or otherwise become liable for any liabilities for

        10   borrowed money or other indebtedness or related obligations or any guarantee of any of the

             foregoing (or permit any subsidiary to take any of the foregoing actions)...." (See Angie's
                                                                        2)
        12   List, Inc. Proxy Statement, Schedule 14A at pp. 133ff

        13                   After the transactions in 2017 whereby Defendant Angie's List became a

        14   subsidiary of Defendant ANGI HOMESERVICES INC., Defendants JAC and ANGI

        15   HOMESERVICES INC. entered into a Services Agreement dated September 29, 2017, filed

        16   with the SEC, which specifically demonstrates that, in addition to [AC owning 98% of ANGI

        17   HOMESERVICES INC.'s voting power and designating 80% of its board members, IAC

        18   agreed to continue to perform services for ANGI HOMESERVICES INC., services that are

        19   presumably integral to Angie's List's operations.

        "2fF — 71: --Moreover -in-addition-to-FAC.. and ANGIHOMESERVICES-iNC.--having board

        21   members in common, they also have numerous employees in common, including employees

        22   who are managing agents, all of whom are co-employed by the defendants, and each of them.

        23         72.       As such, joint and several liability is appropriately asserted in the causes of

        24   action set forth below.

        25   I/I

        26   I/I
             2   The filing can be found at the
        27
        28
                                                               12
                                                  COMPLAINT FOR DAMAGES




                                         Exhibit A Page 25
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 16 of 84 Page ID #:27




          1                                                   Iv.

          2                        TOLLING OF T           STATUTE OF LIMITATIONS

          3   Discovery rule tolling

          4       73.        Plaintiff and Plaintiff Class had no way of knowing about the Defendants'

          5   scheme to deceive and defraud Plaintiff and the Plaintiff Class.

          6       74.        Defendants offered leads to Plaintiff and Plaintiff Class through 1-lomeAdvisor

          7   while concealing the fact that the leads head originated via the Angie's List website, where

          8   Plaintiff and Plaintiff Class had active, paid, advertising subscriptions.

          9       75.        Within the period of any applicable statutes of limitation, plaintiffs and members

        10    of the proposed class could not have discovered, through the exercise of reasonable diligence,

         II   that the defendants were concealing the conduct complained of herein.

        12        76.       Plaintiffs and the other Plaintiff Class did not discover and did not know of facts

        13    that would have caused a reasonable person to suspect, that the dcfcndauts were engaged in the

        14    scheme, nor would a reasonable and diligent investigation have readily disclosed the true facts.

        15        77.       For these reasons, all applicable statutes of limitation have been tolled by

        16    operation of the discovery rule with respect to the claims set forth herein.

        17    Fraudulent Concealment Tolling

        18        78.       All applicable statutes of limitation have also been tolled by the defendants'

        19    knowing and active fraudulent concealment and denial of the facts alleged herein throughout

        20    the period relôvant to this action.

        21    Estoppel

        22       79.        The defendants were under a eoiiliittiutis duty to disclose to plaintiff and Plaintiff

        23    Class the true character, quality, and nature of the membership arrangement and the

        24    relationship between Angie's List and HorneAdvisor, as described herein.

        25       80,        Based on the foregoing, the defendants arc estopped from rclying on any statutes

        26    of limitations in defense of this action.

        27

        28
                                                              '3
                                               COMPLAINT FOR DAMAGES




                                         Exhibit A Page 26
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 17 of 84 Page ID #:28




           1                                                   Iv.
           2                                  CLASS ACTION ALLEGATIONS
           3 !
                               Pursuant to Calif. Civ. Proc. § 382 this action is brought and may be properly

           4     maintained as a class action, This action satisfies the numerosity, commonality, typicality,

           5     adequacy, predominance, and superiority requirements of those provisions.

           6

           7     Class and Subclass Definitions:

           8                   Plaintiff brings this suit as a proposed class action on behalf of a Nationwide

           9     Class of persons defined as follows:

        10
         1. I      Any persons, whether individuals or business entities, that, at any time during the past

        12         four years, plus such additional time as the statutes of limitations are deemed to have

         1.3       been tolled, have registered as Service Providers with Angie's List to advertise or

        14         otherwise promote their business in the United States using the Angie's List website.

        15

        16                    Any person that is a member of the above-defined Class may hereinafter be

        17       referred to as a Class Member.

        18                    Subclass Definitions: Plaintiff also seeks to certify three subclasses, which

        19       subclasses are defined as follows:

        20

        21         The Nationwide .fEorneAdvisor Subclass: Any Class Member that has also

        22         contracted to be a service provider member of HonieAdvisor, Inc. to advertise or

        23         otherwise promote the Class Members business with HomeAdvisor, Inc.;

        24
        25         The California Subclass: Any Class Member that is either based in or advertising

        26         with Defendants for services to be performed in California; and,

        27

        28
                                                                14
                                                  COMPLAINT FOR DAMAGES




                                          Exhibit A Page 27
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 18 of 84 Page ID #:29




             I     The California HorneAdvisor Subclass: Any HomeAdvisor Subclass Member that

            2      is either based in or advertising with Defendants for services to be performed in

            3      California.

            4

            5          85.       Numerosity: The potential membership in the class and subclass is so numerous

            6    thatjoinder of all members is impractical. White the exact number of members in the class and

            7    subclasses is presently unknown to Plaintiff, based on the representations made by defendant

            8    ANGI 1-I0MESERVICES INC. in its most recent IOQ fled with the Securities and Exchange

            9    Commission on August 9, 2019, Plaintiff estimates membership in the Class to exceed 36,000

           10    and each of the subclasses to exceed 15,000. The exact number and specific identities of the

           11    members of the Class may be readily ascertained through inspection of Defendants' business

           12    records.

           13          86.       Questions of Law or Fact Common to the Class: Numerous questions of law

           14    and/or fact are common to all members of the Class (and that these common questions

           .15   predominate over any individual issues), including, without limitation:

           16                a. Whether Defendant Angie's List's conduct in transferring to third parties,

           17                    including non-party 1-lomeAdvisor, the leads and Service Provider information

           18                    that have been generated on the Angie's List website constitutes a breach of

           19                    contract, as set forth below;

  -   --   20      -         b.—Whetber Defendant Angie's List conduct in transferring to third parties the leads.-

           21                    and Service Provider information that have been generated on the Angie's List

           22                    website constitutes a violation of applicable statutory Laws, including but not

           23                    limited to unlawful, unfair and fraudulent business acts as well as false and

           24                    misleading advertising, as set forth below;

           25                c. Whether Defendant Angie's List conduct in transferring to third parties the leads

           26                    and Service Provider information that have been generated on the Angie's List

           27                    website constitutes a violation of applicable common law, including, but not

           28                    limited to fraud and/or fraudulent concealment, as set forth below;

                                                                   IS
                                                  COMPLAINT FOR DAMAGES




                                             Exhibit A Page 28
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 19 of 84 Page ID #:30




           1                  Whether the defendants herein unlawfully profited from Defendant Angie's List

           2                  conduct in transferring to third parties the leads and Service Provider

           3                   information that have been generated on the Angie's List website;

           4                  Whether the wrongful conduct alleged herein is in violation of state enacted

           5                  consumer protection acts, state enacted unfair trade practices, and/or common

           6                  law.

           7                  Whether the members of the Class and Subclasses are threatened with

           8                  irreparable harm and/or are entitled to injunctive and other equitable relief

           9                  Whether the members of the Class and Subclasses are entitled to payment of

        10                    damages plus interest thereon

         .1 1                  Typicality: Plaintiffs claims are typical of the claims of all members of the Class

        12      and Subclasses it seeks to represent. Defendants treated both Plaintiff and all members of the

        1.3     Class and Subclasses in a virtually identical manner with respect to the violations of law

        14      asserted herein. These violations of law arise out of Defendants' common course of conduct in,

        15      inter a/ia, Defendants' deceitful business practices with respect to the Angie's List advertising

        16      agreements and its membership services, Plaintiffs and the other members of the Class and

        17      Subclasses have sustained economic injuries arising from the conduct of Angie's List, and the

         is     relief sought is common to each member of the Class.

        19                     Adequacy: Plaintiff will fairly and adequately protect the interests of the

        20      members of the Class it seeks to represent. Plaintiff is an adequate representative of the Class

        21      because it is member of the Class and Subclasses and its interests do not conflict with the

        22      interests of the members of the Class it seeks to represent. Moreover, Plaintiff has retained

        23      counsel competent and experienced in the prosecution of complex class actions, and Plaintiff

        24      and its counsel intend to prosecute this action vigorously for the benefit of the Class. The

        25      interests of the Plaintiff Class will be fairly and adequately protected by Plaintiff and its

        26      counsel.

        27

        28

                                                                  6
                                                COMPLAINT FOR DAMAGES




                                          Exhibit A Page 29
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 20 of 84 Page ID #:31




          1       89.       Superiority: This action is properly brought as a class action not only because
          2   the prerequisites of Cal. Code of Civ. Proc. §384 and common law related thereto are satisfied

          3   (as outlined above), but also because of the following:

          4             a. The prosecution of separate actions by or against individual members of the

          5                 Class would create risk of inconsistent or varying adjudications with respect to

          6                 individual members of the Class which would establish incompatible standards

          7                 of conduct for the party opposing the Class;

          8             b. Adjudications with respect to individual members of the Class would, as a

          9                 practical matter, be dispositive of the interests of the other members not parties

        10                  to the adjudications or substantially impair or impede their ability to protect their

         II                 interests;

        12              c. Defendants have acted or refused to act on grounds generally applicable to all

        13                  members of the Class, making declaratory relief appropriate with respect to all

        14                  of the Class;

         is             d. Questions of law or fact common to the members of the Class predominate over

        16                  any questions affecting only individual members; and,

        17              c. Class action treatment is superior to other available methods for the fair and

        18                  efficient adjudication of the controversy.

   •    19
        20                                                   V.

        21                                  INDIVIDUAL CAUSES OF ACTION

        22

        23                                     FIRST CAUSE OF ACTION

        24                                         (Breach of Contract)

        25               (By the Nationwide Class and All Subclasses Against All Defendants)

        26       90.        Plaintiff incorporates herein by this reference all of the paragraphs previously set

        27    forth in this Complaint, as though the same were fully set forth herein.

        28
                                                              17
                                              COMPLAINT FOR DAMAGES




                                         Exhibit A Page 30
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 21 of 84 Page ID #:32




         1        91.         Plaintiff and Defendant Angie's List entered into a contract whereby Plaintiff

         2    could utilize Angie's List website advertising and lead generation services in consideration of

         3    monthly payments and/or annual for the service.

         4        92.         Plaintiff paid for all, or substantially all of the services Angie's List promised to

         5    provide.

         6        93.         Defendant violated the terms of the contract by selling, trading, renting or

         7    sharing the Plaintiff's and the Class Members' Private Information with third parties,

         8    including but not limited to FlomeAdvisor, inc. and by deliberately sending leads to

         9    HoineAdvisor rather than directly to Plaintiff or the plaintiff Nationwide Class and all

        10    Subclasses, thus rendering the payments made to Angie's List a waste of money and

        11    permitting non-party HomeAdvisor, Inc. to solicit and charge Plaintiff and Plaintiff Class

        12    additional money for leads for which Plaintiff and the Plaintiff Class and Subclasses had

        13    already paid.

        14        94.         Plaintiff, the Nationwide Class and all Subclasses were harmed by Defendant's

        15    breach of the contract and suffered damages.

        16

        17                                      SECOND CAUSE OF ACTION

        18                                     (Fraudulent Misrepresentation)

        19               (By the Nationwide Class and All Subclasses Against All Defendants)

             _95:--Plaintiff incorporates herein by this reference -all-of thcparngraphs-proviousIycet

        21    forth in this Complaint, as though the same were fully St forth herein.

        22        96.         Defendants herein represented to Plaintiff that an important fact was true, i.e.

        23    that Angie's List would not to sell, trade, rent or share Plaintiff's or the Plaintiff Class' Private

        24    Information with any third parties.

        25        97.         That representation was false.

        26       98.          The Defendant knew that the representation was false when the Defendants

        27    made these representations, or the Defendants made the representations recklessly and without

        28    regard for their truth or by actively concealing the truth.

                                                                18
                                                COMPLAINT FOR DAMAGES




                                         Exhibit A Page 31
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 22 of 84 Page ID #:33




              1            99,        Defendants intended that Plaintiff and all members of the Nationwide Class and

              2       Subclasses to rely on the representation;

              3                       Plaintiff and the plaintiff Nationwide Class and Subclasses reasonably relied on

              4       these written representations.

              S                       Plaintiff and the plaintiff Nationwide Class and Subclasses were harmed.

              6            102,       Plaintiffs and the plaintiff Nationwide Class' and Subclasses' reliance on the

                      defendants' representation was a substantial factor in causing that harm to Plaintiff and the

                      plaintiff Nationwide Class and Subclasses.

              9

             10                                          THIRD CAUSE OF ACTION

                                      (Intentional interference with Prospective Economic Relations)

             12                   (By the California Subclass and California llomeAdvisor Subclass

             13                                            Against All Defendants)

             14                       Plaintiff incorporates herein by this reference all of the paragraphs previously set

             15   forth in this Complaint, as though the same were fully set forth herein.

             16                       Plaintiff and the California Subclasses, on the one hand, and Angie's List

             17   "Members" and "Consumers," on the other hand, were in an economic relationship that

             18   probably would have resulted in an economic benefit to Plaintiff and the California

             19   Subclasses.
--   -   -
                  -    -   -105   -   Defendants, and each of them, knew of this relationship.   --   -   -   -   -




             21                       Nevertheless, Defendants, and each of them, engaged in the fraudulent conduct

             22   set forth above, i.e. the practice of selling, trading, renting or sharing Private Information with

             23   third parties.

             24                       By engaging in this conduct, Defendants, and each of then,, either intended to

             25   disrupt the aforesaid relationship or knew that disruption of the relationship was certain or

             26   substantially certain to occur.

             27                       The relationship between Plaintiff and the California Subclasses, on the one

             28   hand, and Angie's List "Members" and "Consumers," on the other hand, was disrupted.

                                                                        19
                                                       COMPLAINT FOR DAMAGES




                                                 Exhibit A Page 32
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 23 of 84 Page ID #:34




          I         1.09.           Plaintiff and the California Subclasses were harmed.

         2                         The conduct of Defendants, and each of them, was a substantial factor in causing

         3    the harm to Plaintiff and the California Subclasses.

         4

          5                                          FOURTH CAUSE OF ACTION

         6                                        (California Unfair Competition Law

         7                                      Cal. Bus. & Prof. Code § 17200, et seq.)

         8                        (By the California Subclass and California HomeAdvisor Subclass

         9                                            and Against All Defendants)

        10                         Plaintiff incorporates herein by this reference all of the paragraphs previously set

        .11   forth in this Complaint, as though the same were fully set forth herein.

        12                         When Defendants falsely and fraudulently represented to Plaintiff and the

        13    California Subclass Members that an important fact was true, i.e. that Angie's List would not

        .14   to sell, trade, rent or share Plaintiff's or the Plaintiff Class' Private Information with any third

        15    parties, it engaged in a pattern of unlawful, unfair or fraudulent business acts or practices

        16    and/or unfair, deceptive, untrue or misleading advertising with respect to Plaintiff and

        17    California Subclasses.

        18          1.13.          Defendants scheme operated to unlawfully and fraudulently extract revenue

        19    from Plaintiff and Plaintiff Class by requiring Plaintiff and the California Subclasses pay again

        20    for the results of the advertising, i.e. the leads generated from advertising on the Angie's List.

        21    website       --   something for which they had already paid tinder the original advertising agreement

        22    with Angie's List.

        23          114.           Plaintiff and Plaintiff California Subclasses were deprived of the benefit of the

        24    original advertising agreement; thus, they are entitled to and thus seek restitution from

        25    Defendants for all advertising expenses incurred during the life of Defendants' fraudulent

        26    scheme.

        27    II,

        28    I/I

                                                                    20
                                                    COMPLAINT FOR DAMAGES




                                               Exhibit A Page 33
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 24 of 84 Page ID #:35




                  115.      Defendants will, unless preliminarily restrained and enjoined, continua to engage

          2   in the aforesaid unfair business practices and should be enjoined to prevent said practices

          3   pursuant to Cal. Bus. & Prof. Code §§ 17204 and 17535.

          4

          5                                                   VI.

          6                                       PRAYER FOR RELIEF

          7          WHEREFORE, Plaintiff Pro Water Solutions, Inc. prays, for itself and on behalf of the

          S   Plaintiff Class;

          9              That the Court issue an Order certifying the class and subclasses herein, appointing

        10               the named Plaintiff as the class representative of all others similarly situated, and

        11               appointing the law firms representing the named Plaintiff as counsel for the

        12               members of these classes;                               -




        13               For general damages in a sum according to proof at trial;

        14               For special damages in a sum according to proof at trial;

         15              For injunctive relief, including a temporary and/or permanent injunction prohibiting

         16              defendants from selling, trading, renting or sharing Private Information with third

        17               parties, including but not limited to FlomeAdvisor;

        18               For exemplary and punitive damages;

        19               For an accounting;

        20-              bra constructive. trust and an order of full restitution;

        21               For reasonable attorneys fees;

        22               For costs of suit inculTed herein; and

        23               For such other and further relief as the Court may deem just and proper.

        24
              Dated: September 6, 2019                      The Cullen Law Firm, APC
        25
        26
                                                       -a-- Paul T. Cullen, Esq.
        27
                                                            Attorneys for Plaintiff
        28                                                  PRO WATER SOLUTIONS, INC.
                                                                  2!
                                              COMPLAINT FOR DAMAGES




                                        Exhibit A Page 34
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 25 of 84 Page ID #:36




H




                                EXHIBIT "A"


                                   Exhibit A Page 35
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 26 of 84 Page ID #:37

Angie's List Legal Center




              Angi                                    list                                        Legal Center


              Privacy Policy

              Service Provider's User Agreement

              Terms of Use

              Projects Submission Customer Agreement

              Advertising and Deals Agreement

              Angie's List Mobile Alerts Terms and Conditions




              Privacy Policy
             [yersion 1.0 (Current)

              Effective April 7, 2017




              Angie's List Privacy Policy

              Last Modified February 13, 2017

              This Privacy Policy discloses our privacy practices and the possible uses of the Information that we gather
              via http:I/www.angiesilst.com/. our mobile application(s), and via other submissions by you to Angie's List
              (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
              Policy. If you do not agree to the terms and conditions of this Privacy Policy, Including having your
              personally identifiable information ("Personal information" as defined below) used in any of the ways
              described in this Privacy Policy, you may not be able to use certain parts or features of our Site and
              Services, and in some instances, this may necessitate the revocation of your membership. Angie's List may
              update this Privacy Policy from time-to-time in our sole discretion. It is your responsibility to review the
              Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
              changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
              that you agree to and accept the Privacy Policy as modified.

              This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
              services, our print publications, our call center services, and other Angie's List products or services. This
              Privacy Policy Is part of our Angle's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                            EXHIBIT A, Pagel of 15

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                                                       Exhibit A Page 36
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 27 of 84 Page ID #:38

Angie's List Legal Center

             our Site and Services.

             Information Collected

             Angie's List collects information on our users in various ways, such as, by your voluntary submissions,
             participation in services provided via the Site and Services, from third parties with your consent, and through
             cookie and other tracking technology. Angle's List collects the following information:

                 • Personal Information

             "Persona! Information" refers to information that tells us specifically who you are, such as your name, phone
             number, email, postal address, and possibly information relating to certain support or customer service
             issues. In many cases, we need this information to provide to you many of the services that you may have
             requested.

                 . Cellular Phone Numbers

             By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
             on our behalf to deliver autodlaled or prerecorded telemarketing calls and/or text messages to the number
             you provide. You are not required to consent to these calls as a condition to purchasing any goods or
             services, but withholding your consent may prevent us from providing certain services to you. This consent
             encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
             party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
             contacting Angie's List, including by texting STOP,

                 . Submission of Reviews, Ratings, and Comments

            We collect information that you voluntarily provide as part of our Site and Services, including messages,
            posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
            Generated Content"). Angie's List may In our sole discretion share your User Generated Content with others
             such as your business reviews. If you do not want certain information shared with others, you should not
            submit User Generated Content, or should not submit User Generated Content that contains Information or
            Personal Information you do not want shared In this manner. Once You have submitted User Generated
            Content, we reserve the right to publish it in any medium to others.

                 • Aggrogoto Information

            We may collect general, non-personal, statistical information about the use of the Site and Services, such
            as how many visitors visit a specific page on the Site, how long they stay on that page, and which
            hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
            collective viewing habits, and allows us and other third parties to modify information, promotions, offers
            and/or discounts on products and services based on user traffic and behavior. We collect this information
            through the use of technologies such as 'cookies' and web beacons, which are discussed in greater detail
            below. We collect this Information In order to help enhance the Site and Services to make for a better visitor
            experience.

                 • Third Party Information

            We. may supplement information you provide to us with information from other sources, such as information
            to validate or update your address, payment card or other demographic and lifestyle information. We use
            this Information to help us maintain the accuracy of the Information we collect, to enable us to fulfill our
                                                                                        EXHIBIT A, Page 2 of 15
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                                                     Exhibit A Page 37
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 28 of 84 Page ID #:39

Angie's List Logo! Center

               products and services, to target our communications so that we can inform you of products, services and
               offers that may be of interest, and for Internal business analysis or other business purposes consistent with
               our mission.

                   • Cookies

               Angie's List may automatically collect non-personally identifiable information and data through the use of
               cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
               access to the website and facilitate the use of the website. Cookies also allow a website to track usage
               behavior and compile site usage information that will allow for the improvement of content and target
               advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
               remove them. You may set your browsers to notify you if you receive a cookie, or you may choose to block
               cookies with your browser. However, please be aware that some features of our Site and Services may not
              function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
              parties with links on the Site as described below. We do not directly control these cookies. The use of
              advertising cookies sent by third party ad servers is standard in the Internet industry.

              We may use the services of third parties to collect and use anonymous information about your visits to and
              interactions with our website through the use of technologies such as cookies to personalize advertisements
              for goods and services. To learn more, or to opt-out of

              receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
              Advertising Alliance Consumer Choice Page at http://www.aboutads.info/choices/.

                   • Other Tracking Technologies

              Tracking technologies may record information such as Internet domain and host names; protocol (IP)
              addresses: browser software and operating system types; clickstream patterns; the MAC address or other
              technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
              technologies; and dates and times that our Site and Services are accessed. An IP address is a number that
              is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
              that 'serve up' webpages, automatically identify your computer by its IP address. The Site and Services may
              also use technology called "tracer tags". These may also be referred to as "Pixels", "Clear GiFs" or "Web
     -   -   -Beacons-This technology allows its to understand which pages you visit on our Site and other ways you                 -


              interact with our Site and Services, such as purchases made through the Site and Services. These tracer
              tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
              Services. We may link the information we record using tracking technologies to Personal Information we
              collect.

                   • Do Not Track

              Do Not Track (DNT) Is privacy preference that users can set in some web browsers, allowing users to opt
              out of tracking by websltes and online services. At the present time, the World Wide Web Consortium (W3C)
              has not yet established universal standards for recognizable DNT signals and therefore, Angie's List and the
              Site do not recognize DNT.

              Use of Information

              The Information Angie's List collects is used in a variety of ways, including

                                                                                              EXHIBIT A, Page 3 of 15

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                                                       Exhibit A Page 38
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 29 of 84 Page ID #:40

Angie's List Legal Center

                 • for internal review;

                 • to improve the Site and Services;

                 • to optimize third-party offers of products and/or services;

                 • to verify the legitimacy of reviews and ratings;

                 • to notify you about updates to the Site and Services;

                 • to let you know about products, services, and promotions that you may be interested in;

                 • to get reviews and ratings;

                 • for our marketing purposes and the marketing of discounts offered through our Site and Services by
                     service contractors or health care related providers (collectively 'Service Providers");

                 • to fulfill and provide products and services, including personalized or enhanced services, requested
                     by you; and

                 • internal business analysis or other business purposes consistent with our mission; and to carry out
                    other purposes that are disclosed to you and to which you consent.

            Disclosures and Transfers of information

            We do not disclose Personal Information to third parties, except when one or more of the following
            conditions is true:

                 • We have your permission to make the disclosure;

                 • The disclosure is necessary for the purpose for which the personal information was obtained;

                 • The disclosure is to the service provider from whom you purchased services through Angie's List's
                    platform, including without limitation Big Deals, Storefronts, and project submissions;

                 • The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                    provision of goods and services requested by you;

                 • The disclosure is permitted by relevant law;

                 • The Personal Information to be disclosed is otherwise publicly available in accordance with the
                    applicable law;

                 • The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                    assets;

                 • The disclosure is for our own marketing purposes (including, without limitation, for Angie's List to
                    market services to you on third-party social media platforms such as Facebook), or, with your
                    authorization, for the marketing purposes of third parties;

                 • The disclosure is combined with Information collected from other companies and used to improve and
                    personalize services, content, and advertising from us or third parties;

                 • The party to whom the disclosure is made controls, Is controlled by, or Is under common control with
                    Angie's List;

                                                                                           EXHIBIT A, Page 4 of 15
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                                                      Exhibit A Page 39
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 30 of 84 Page ID #:41

Angie's List Legal Center

                  • The disclosure is in our sole discretion necessary for the establishment or maintenance of legal
                     claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                     connection with litigation;

                  • The disclosure is in our sole discretion about users who we believe are engaged In illegal activities or
                     are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                     warrant or court order; or

                  • The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                     Site and Services, mailing lists, processing orders and delivering products and services, sending
                     postal mail, processing claims for lost or stolen certificates, providing marketing assistance,
                     confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                     including Administrative Service Providers outside the country or jurisdiction in which you reside.

             Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
             such outside parties to whom we are transferring data to provide for the allowable use and security of the
             transferred information in accordance with this Privacy Policy and applicable law. if Angie's List becomes
             aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
             outside party and request that it take reasonable steps to cease such use or disclosure.

             We may provide certain Personal Information as a service to others for their marketing purposes. We may
             also disclose your name and address to Service Providers when you submit User Generated Content
             relating to those Service Providers. If you properly notify us that you no longer want us to share your
             Personal Information, we will cease sharing your Personal Information. However, except as otherwise stated
             in this Privacy Policy, we do not directly control the third parties to which we share such Personal
             Information and you will need to further notify such third parties directly if you would like them to cease use
             of your Personal Information.

             We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
             existing or potential business partners or other third parties, or in response to a government request. We
            may also share aggregated demographic and preference data with third parties to enable the provision of
            targeted information, promotions, offers and/or discounts on products and services.

            Choice: Accessing Your Information and Opt-in/Opt-out Requests

            To help you review, edit, and control how we use much of the information we collect about you, you can visit
            your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
            information and unsubscribe from receiving specific types of email messages and telephone calls, including
            autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
            unsubscribe from our monthly digital magazine, which is a benefit that Is included with your subscription.
            You cannot, however, unsubscribe from receiving 'certain emails, such as account status and billing related
            emails, unless you close your account and fulfill any existing contractual obligations.

             You can also ask us whether we are keeping Information about you; ask how your information is being
             used; ask us to update or correct your information; or opt-out of our collection and use of certain information
             by sending an email to helpdesk©angiesllst.com or by writing us at Help Desk, Angie's List, 1030 E.
             Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request If you choose to
            opt-out of the collection and use of certain of your information, you understand that some services, may no

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                                                      Exhibit A Page 40
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 31 of 84 Page ID #:42

Angie's List Legal Center

              longer be available to you, potentially requiring the canceialion of your Membership. Please state in your
              correspondence the details of your request. We may require proof of your identity before we provide you
              with the requested information. We allow you to challenge the data that we hold about you and, where
              appropriate, you may have certain data erased, rectified, amended, or completed. Approved requests will be
              processed within ten (10) days of the date on which we receive the request.

              Data Security, Integrity, and Access

              The Personal Information you provide and we collect is stored within databases that we control directly or
              through our Administrative Service Providers. As we deem appropriate and as required by the applicable
              law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
              industry standards, including physical, organizational and technological protections, such as firewalls, to
              protect your Personal Information. We also use industry standard encryption technology to protect credit
              card and password information. However, since no security system is impenetrable, we cannot guarantee
              the security of our databases, nor can we guarantee that Information you supply will not be intercepted while
              being transmitted to us over the Internet.

              Personal Information may only be accessed by persons within our organization, our third party service
              providers who require such access to provide you with the services indicated above, or any other party that
              you have provided us with authorization to share such Information with.

              We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
              for which it was collected or to otherwise meet any legal requirements.           -




              Your information may be transferred to, and maintained on, computers located outside of your state,
              province/territory, or country where the privacy laws may not be as protective as those where you live. If you
              are located outside the United States and choose to provide information to us, please be aware that we
              transfer Personal Information to the United States and process and store it there. As a result, this
              information may be subject to access requests from governments, courts, law enforcement officials and
              national security authorities in the United States according to its laws. Subject to the applicable laws, we will
              use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
              Personal information. By submitting your Personal Information, you consent to having your personal data
              transferred to, processed, and stored in the United States. Angle's List may assign you a user ID and a
              password when you as part of your participation and access to the Site and Services. Your user ID and
    •-        password may only be used by you and the members of your household. You may not share your user ID
              and password with anyone else, and you are solely responsible for maintaining and protecting the
              confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
              user ID and password. You can access and update your login information on your "Manage My Accounts"
              webpage.

              Credit Card Information

              We may share credit card Information with trusted third parties in order to bill you for our service. We use
              third parties for secure credit card transaction processing, and we send billing information to those third
              parties to process your orders and payments or to validate your credit card information on file. Credit card
              information is encrypted during transmission and whenever stored within our systems or with our vendors. In
              addition to utilizing encryption that meets the US Government's FIPS 140-2 Certification, we take care to
              store only the amount of information required to bill you for services.
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                                                       Exhibit A Page 41
         Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 32 of 84 Page ID #:43

    Angie's List Legal Center


                  Our credit card processing vendors use security measures to protect your information both during the
                  transaction and after it's complete. Credit card processing vendors are certified as compliant with multiple
                  industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
                  1, the SSAE-16 audit standard.

                  Third Party Websites and Links

                  Please note that you may have cookies placed on your computer by third party websites that refer you to
                  the Site. Although we do not share your Personal Information with these third party websites unless you
                  have authorized us to do so, they may be able to link certain non-personally identifiable information we
                  transfer to them with Personal Information they previously collected from you. Please review the privacy
                  policies of each website you visit to better understand their privacy practicco. In addition, Angie's List would
                  like to inform you that anytime you click on links (including advertising banners), which take you to third
                  party websites, you will be subject to the third parties' privacy policies. While we support the protection of
                  our customer's privacy on the Internet, Angie's List expressly disclaims any and all liability for the actions of
                  third parties, including but without limitation to actions relating to the use and/or disclosure of Personal
                  Information by third parties.

                  Our Site and Services may contain links to other sites operated by third parties. Angie's List does not control
                  such other sites and is not responsible for their content, their privacy policies, or their use of Personal
                  Information. Angie's List's inclusion of such links does not, by itself, imply any endorsement of the content
                  on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
                  submitted by you directly to these third parties is subject to that third party's privacy policy.

                  Children's Privacy

                  Angie's List does not intend the Site and Services to be used by individuals under the age of majority within
                  the jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
                  Angie's List relies upon such parents or guardians to determine if the Site and Services is appropriate for
                  the viewing, access, or participation by such individuals under the age of majority. If an individual under the
                  age of majority uses the Site and Services, such individual may only use the Site and Services under the
                  supervision of a parent or guardian of majority age.
-
                  We do not seek or knowingly collect any Personal Information about children under-1 3 years of age. If we              -




                  become aware that we have unknowingly collected Personal Information from a child under the age of 13,
                  we will make commercially reasonable efforts to delete such information from our database.

                  If you are the parent or guardian of a minor child who has provided us with Personal Information, you may
                  contact us using the information below to request it be deleted.

                  Governing Law; Visitors Residing Outside the United States

                  This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
                  Angie's List provides its services.

                  Your California Privacy Rights

                  This privacy policy describes how we may share your Information for marketing purposes. It applies to all
                  Angie's List customers, including California residents:

                                                                                                 EXHIBIT A, Page 7 of 15

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                                                            Exhibit A Page 42
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 33 of 84 Page ID #:44

Angles List Legal Center

                    • We share information with others as more fully set forth above in Disclosures and Transfers of
                      Information.
     -
                    • We share your information with other parts of our business and with our service providers. See
                      above: Disclosures and Transfers of Information.

              You may contact us with any questions, or to request a list of third parties to whom we may disclose
              Information for marketing purposes and the categories of Information we may disclose. See below:
              How to Contact us.

              How To Contact us

              All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
              please contact our Privacy Officer by mail or email at the following:

              Attn: Privacy Officer

              Angie's List

              1030 E. Washington St.

              Indianapolis, IN 46202

              E-mail: privacyofficer©angieslist.com

              We welcome your questions and comments.

              Service Provider's User Agreement


              Effective April 7, 2017 to November 3, 2017
              Download



              Service Provider's User Agreement

              Last Updated March 1, 2017

              Angie's List, Inc. allows consumers who subscribe to be a member of Angie's List (collectively, the
              "Members") to provide reviews and ratings on a variety of service companies and health related providers
              (collectively, a "Service Provider) with whom they have had first-hand experiences. On behalf, and as
              representative, of a Service Provider ("You" or "Company"), You are permitted to use the website
              (www.angieslist.com) (the "Website") and the information contained therein subject to the terms and
              conditions contained in this Service Provider's User Agreement, which may be modified, amended or
              replaced by Angie's List from time to time at Angie's List sole discretion (collectively, the "Agreement"). Such
              modifications will become effective Immediately upon the posting thereof, This Agreement shall also govern
              other aspects of Your relationship with Angie's List beyond Your use of the Website, as described herein.

              In consideration of Angie's List granting the Company access to Its Website and the Information contained
              therein, and In order to use the Website, You must read and accept all of the Terms and Conditions In, and
              linked to, this Agreement. it is the Company's responsibility to review this Agreement on a regular basis to
                                                                                           EXHIBIT A, Page 8 of 15

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                                                      Exhibit A Page 43
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 34 of 84 Page ID #:45

Angie's List Legal Center

             keep itself Informed of any modifications. BY ACCEPTING THE TERMS AND CONDITIONS OF THIS
             AGREEMENT, THE COMPANY ACKNOWLEDGES IT HAS HEAD, UNDERSTANDS AND AGREES TO
             BE BOUND BY ALL OF THE TERMS, CONDITIONS, AND NOTICES CONTAINED IN THIS AGREEMENT
             JUST AS IF YOU HAD SIGNED THIS AGREEMENT.

             Terms and Conditions

            Members may submit a review or report and other information (collectively, Member Content") on any
            Service Provider with which they have communicated or had another first-hand experience, whether or not
            work was started, performed, or completed, lithe Company disputes any Member Content, the Company's
            sole course of action with respect to such Member Content as it relates to Angie's List and the Website is to
            utilize thn Snrvicas (as defined below) which are available online at the Website.

            By agreeing to the Terms and Conditions of this Agreement, the Company is hereby permitted to use the
            services offered to Service Provider's including, without limitation, access to "Business Center", the ability to
            review Member Content pertaining to the Company, the ability to submit responses to Member Content, the
            ability to update and maintain profile information on the Company, the ability to utilize the dispute resolution
            process offered through the Website and facilitated by Angie's List and such other services that Angie's
            List may offer to Service Providers from time to time (collectively, the "Services").

            By agreeing to the Terms and Conditions of this Agreement, Angle's List grants the Company a limited
            license to access and use the Website and the Services. Notwithstanding the foregoing, the Company
            acknowledges and agrees that it will not access, reproduce, duplicate, copy, sell, re-sell, visit or otherwise
            exploit the Website (or any of the content therein including, without limitation, any Member Content or any
            Member profiles) or Services for any commercial or other purpose, without the express written consent
            of Angie's List.

            Angie's List does not endorse and is not responsible or liable for any Member Content, SP Content (as
            defined below), data, advertising, products, goods or services available or unavailable from, or
            through, Angie's List. The statements, information and ratings contained In any Member Content are solely
           the opinion of the Member submitting such Member Content and do not reflect the opinion of Angie's List or
           any of its affiliates or subsidiaries or any of their respective owners, managers, officers, employees, agents
           or representatives.

            The Company acknowledges and understands that Angie's List simply acts as a passive conduit and an
           interactive computer provider for the publication and distribution of Member Content and SP Content.
           Angie's List does not have any duty or obligation to investigate the accuracy of Member Content or the
           quality of the work performed by the Company or any other Service Provider which Is the subject of any
           Member Content. By using the Services, the Company agrees that it is solely the Company's responsibility
           to evaluate the Company's risks associated with the use, accuracy, usefulness, completeness,
           appropriateness or legality of any information, responses, writings or other materials that the Company
           submits, transmits or otherwise conveys through the ServIces (collectively, "SP Content").

           Under no circumstances will Angie's List be liable in any way for any Member Content or SP Content
           Including, but not limited to, any Member Content or SP Content that contains, errors, omissions or
           defamatory statements, or for any loss or damage of any kind incurred as a result of the use of any Member
           Content or SP Content submitted, accessed, transmitted or otherwise conveyed via the Services or
           otherwise.
                                                                                        EXHIBIT A, Page 9 of 15
                                                                                                                                3:59:29 PM]



                                                    Exhibit A Page 44
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 35 of 84 Page ID #:46

Angie's List Legal Center


             The Company hereby waives any claims, rights or actions that it may have against Angie's List or any of its
             affiliates or subsidiaries with respect to any Member Content or SP Content and releases Angie's List and
             each of its affiliates and subsidiaries from any and all liability for or relating to Member Content or SP
             Content.

             The Company agrees to indemnify and hold Angie's List and each of its affiliates and subsidiaries and their
             respective owners, managers, officers, employees, agents or representatives harmless for any damages
             that may arise, directly or indirectly, from any claim or right it may have against Angie's List with respect to
             any statements made by a Member or Member Content submitted by a Member which Is communicated,
             posted or published by Angie's List on its Website or to a third party.

             The Company acknowledges and agrees that the Company can neither require Angie's List to place the
             Company on its Website nor remove the Company or any Member Content from Angle's List. The Company
             further acknowledges and understands that the Company is not a Member of Angie's List, cannot refer to
            Itself as a Member of Angie's List, and is not afforded the same access to the Website as a Member nor the
             benefits afforded to a Member.

             The Company and its current or former owners, directors, managers, employees, agents and family
            members are expressly prohibited from purchasing gift memberships to Angle's List or reimbursing clients or
            customers for their Angie's List membership coat. In addition, Individuals affiliated with the Company
            including, without limitation, current or former owners, current or former employees or officers, family
            members, or current or former partners, investors, managers or directors (collectively, the "Affiliated
            Persons") may not submit Member Content to Angle's List on the Company. The Company hereby
            acknowledges and agrees that to the extent an Affiliated Person has submitted or posted any Member
            Content on the Company or any company or person competitive to the Company, or believes that Member
            Content was posted by an Affiliated Person that Angle's List may immediately remove such Member
            Content without notice or recourse against Angie's List.

             SP Content shall not contain any unauthorized content which includes but is not limited to:

               Offensive, harmful and/or abusive language, including without limitation: expletives, profanities,
            obscenities, harassment, vulgarities, sexually explicit language and hate speech (e.g., racistldlscriminatory
            speech.);

               Comments that do not address the Member Content or comments with no qualitative value as determined
            by Angie's List In its sole discretion;

               Content that contains personal attacks or describes physical confrontations and/or sexual harassment;

               Messages that are advertising or commercial in nature, or are inappropriate based on the applicable
            subject matter:

              Language that violates the standards of good taste or the standards of the Website, as determined
            by Angie's List In its sole discretion;

              Content determined by Angie's List, in Its sole discretion, to be Illegal, or to violate any federal, state, or
            local law or regulation or the rights of any other person or entity;

                Language intended to impersonate other users (including names of other individuals) or to be offensive
            or inappropriate user names or signatures; and/or
                                                                                          EXHIBIT A, Page 10 of 15
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                                                      Exhibit A Page 45
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 36 of 84 Page ID #:47

Angie's List Legal Center


             h. Content that is not in English, that is encrypted or that contains viruses, Trojan horses, worms, time
             bombs, cancelbots or other computer programming routines that are intended to damage, interfere with,
             Intercept or appropriate any system, data or personal information.

             The Company acknowledges and agrees that Angie's List in its sole discretion may remove without notice
             any SP Content or any portion thereof that Angie's List believes violates the foregoing.

             Angie's List may suspend, restrict or terminate the Company's use of the Services or any portion thereof if
             the Company breaches or fails to comply with any of the Terms and Conditions of this Agreement.

             Although Angie's List does not claim ownership of any SF Content or other communications or materials
             submitted by or given by the Company to Angie's List, by providing SF Content for the Website or other
             mediums, the Company automatically grants, and the Company represents and warrants that the Company
             has the right to grant, to Angie's List an irrevocable, perpetual, nonrexclusive, fully paid, worldwide license
             to use, copy, perform, display, reproduce, adapt, modify, and distribute such SP Consent and to prepare
             derivative works of, or incorporate Into other works, such SF Content, and to grant and to authorize
             sublicenses (through multiple tiers) of the foregoing. In addition, by providing Angie's List with SP Content,
             the Company automatically grants Angie's List all rights necessary to prohibit the subsequent aggregation,
             display, copying, duplication, reproduction or exploitation of SP Content on the Website or in any other
            medium by any other party. No compensation will be paid with respect to Angie's List use of SF Content.
            Angie's List is under no obligation to post or use any of SF Content or maintain SF Content. Angle's
            List may remove SF Content at any time in Angie's List sole discretion.

            It is the Company's sole responsibility to review and monitor any Member Content regarding the Company
  -
            that is posted by Members and to submit responses it deems necessary to any Member Content. Angle's
            List does not have any obligation to provide a notice or update to the Company with respect to any new
            information or Member Content that it learns of or receives about the Company from its Members,

            The Company has the sole responsibility of updating any and all of its information on the Website including,
            without limitation, the Company's description and profile information.

            The Company agrees not to use or cause any robot, bot, spider, other automatic device, or computer
            program routine or manual process to monitor, duplicate, take, obtain, transfer, modify, use, reproduce,
            aggregate or copy Angie's List, any Member Content, any Member profiles, SF Content (including SF
            profiles) or any other content contained on the Website or any other publication of Angie's List. You shall not
            use or cause any device, software, or routine to interfere or attempt to interfere with the proper working of
            the Website.

            The Company hereby represents and warrants to Angie's List that (a) all information provided to Angie's
            List by the Company is true, complete and accurate in all respects, and (b) the Company Is authorized to
            submit information to Angie's List. Angie's List Is authorized by the Company to rely upon the truthfulness,
            completeness and accuracy of SP Content In order to serve its Members.

            The Company acknowledges that the Website utilizes one or more website analytic services, Including,
            without limitation, ClickTaie, which may record mouse clicks, mouse movements, scrolling activity and text
            entered Into the Website by users. These services do not collect personally Identifiable information that is
            not voluntarily entered into the Webslte by the user. Angie's List uses the Information collected by these
            service providers to improve the usability and other features of the Website. Users may choose to disable
                                                                                       EXHIBITA, Page 11 of 15
                                                                                                                               3:59:29 PM)




                                                     Exhibit A Page 46
           Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 37 of 84 Page ID #:48

        Angie's List Legal Center


                     the ClickTale service at http://www.clicktaie.net/dlsabie.html

    -
                     The Company acknowledges that Angie's List will use the telephone numbers, email addresses and
                     facsimile numbers that are submitted to Angie's List in connection with registering with Angie's List to
                     contact the Company with information regarding Angie's List. Angie's List agrees not to sell, trade, rent or
•                    share such information with any third parties. By providing a wireless phone number to Angie's List,
                     Company agrees that Angle's List may call or send text messages to the wireless phone number for any
•                    purpose, including marketing purposes, using all methods now known and discovered in the future,
                     including, but not limited to, auto-dialers, pre-recordings, and general telemarketing practices. Company
•                    agrees that these calls or text messages may be regarding the products and/or services that Company has
                     previously purchased and products and/or services that Angie's List may market to me. Company
                     acknowledges that this consent may be removed upon request.

•                    To the extent a third party posts or submits any SP Content or manages the Company's profile or
                     information on the Website, the Company hereby acknowledges and agrees that the Company shall remain
                     fully responsible for any SP Content or information posted or submitted by such third party.

                    The Company agrees unless expressly authorized by Angie's List not to access, copy, duplicate use,
                    reproduce, alter, modify, create derivative works, display, sell, re-sell, advertise or market with or otherwise
•                   exploit for any commercial, educational or other purpose any Member Content, any Member profiles, any
                    SP profiles, or any other content from the Website or Angie's List, including, without limitation, any reviews
                    or ratings or any other content contained in any Member Content.

                    Angie's List is the owner and/or authorized user of any trademark and/or service mark, including, without
                    limitation, the name "Angie's List", appearing on the Website and is copyright owner or licensee of the
                    content and/or information on the Website. By placing them on the Website, Angie's List does not grant the
                    Company any license or other authorization to copy or use its trademarks, service marks, copyrighted
                    material, or other intellectual property, except as provided herein.

                    Angle's List reserves the riáht to exercise any rights or remedies which may be available to it against the
                    Company if the Terms and Conditions of this Agreement are violated by the Company. These remedies
                    Include, but are not limited to, revocation of (a) Super Service Awards (present & past) and any associated
                    license, (b) advertising privileges, (c) use of the Services, or (d) appearances on the Website and/or any
           -
                    other appearances in any Angie's List's publication, and Company agrees that the exercise of one remedy
                    shall not preclude the availability of any other remedy.

                    The Company understands and agrees that, because damages resulting from Company's breach of this
                    Agreement are difficult to calculate, if it becomes necessary for Angle's List to pursue legal action to enforce
                    the Terms and Conditions of this Agreement, the Company will be liable to pay Angie's List the following
                    amounts as liquidated damages, which the Company accepts as reasonable estimates of Angie's List's
                    damages for the specified breaches of this Agreement:

                       If the Company posts SP Content in violation of this Agreement, the Company agrees to promptly
                    pay Angle's List One Thousand Dollars ($1000) for each Item of SIR Content posted in violation of this
                    Agreement. Angie's List may (but Is not required) Issue the Company a warning before assessing damages.

                       if the Company exploits for any purpose (commercial or otherwise) any Member Content, Member
                    profiles or any other Information contained on the Website Including, without limitation, ratings and/or

                                                                                                EXHIBIT A, Page 12 of 15
                                                                                                                                5/2019 3:59:29 PM]




                                                            Exhibit A Page 47
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 38 of 84 Page ID #:49

Angie's List Legal Center

             reviews in violation of this Agreement, the Company agrees to pay Ten Thousand Dollars ($10,000) per
             report, record or review exploited.

                If the Company uses or causes any robot, bot, spider, other automatic device or computer program
             routine or any manual process to monitor, duplicate, take, aggregate, obtain, modify, use, reproduce or copy
             any Member Content, any member profiles, SP content (including SR profiles) or any other content
             contained on the Website or in any other publication of Angle's List, the Company agrees to pay One
             Hundred Dollars ($100) for each report, record, review or other information that is monitored, duplicated,
             transferred, taken, obstructed, modified, used, reproduced, aggregated or copied.

                Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, the Company agrees to pay
             the actual damages suffered by Angle's List to the extent such actual damages can be reasonably
            calculated.

             Notwithstanding any other provision of this Agreement, the Company reserves the right to seek the remedy
            of specific performance of any term contained herein, or a preliminary or permanent InjUnction against the
            breach of any such term or in aid of the exercise of any power granted In this Agreement, or any
            combination thereof.



            THE COMPANY EXPRESSLY UNDERSTANDS AND AGREES THAT ANGIE'S LIST WILL NOT BE
            LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, COMPENSATORY,
            CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN IF ANGIE'S LIST HAS BEEN ADVISED OF THE
            POSSIBILITY OF SUCH DAMAGES) (COLLECTIVELY, "DAMAGES"), RESULTING FROM: (A) THE USE
            OR INABILITY TO USE THE SERVICES: (B) THE COST OF ANY GOODS AND/OR SERVICES
            PURCHASED OR OBTAINED AS A RESULT OF THE USE OF THE SERVICES; (C) DISCLOSURE OF,
            UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR SR CONTENT; (D) SR
            CONTENT THE COMPANY MAY SUBMIT, RECEIVE, ACCESS, TRANSMIT OR OTHERWISE CONVEY
            THROUGH THE SERVICES OR THIS AGREEMENT; (E) STATEMENTS OR CONDUCT OF ANY
            MEMBER OR OTHER THIRD PARTY THROUGH THE SERVICES; (F) ANY OTHER MATTER RELATING
            TO THE SERVICES; (0) ANY BREACH OF THIS AGREEMENT BY ANGIE'S LIST OR THE FAILURE OF
            ANGIE'S LIST TO PROVIDE THE SERVICES UNDER THIS AGREEMENT; (H) ANY MEMBER CONTENT
            POSTED; OR (I) ANY OTHER DEALINGS OR INTERACTIONS THE COMPANY HAS WITH ANY
            SERVICE PROVIDER (OR ANY OF THEIR REPRESENTATIVES OR AGENTS). THESE LIMITATIONS
            SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW. in some jurisdictions, limitations of
            liability are not permitted. In such jurisdictions, some of the foregoing limitations may not apply to the
            Company.

             TO THE EXTENT ANGIE'S LIST IS FOUND LIABLE FOR ANYTHING RELATED TO THIS AGREEMENT
            OR THE USE OF THE SERVICES, ANGIE'S LIST'S LIABILITY FOR DAMAGES WILL NOT EXCEED ONE
            HUNDRED DOLLARS ($100.00).

             This Agreement and the relationship between the Company and Angle's List will be governed by the
            Internal laws of the State of Indiana, notwithstanding the choice of law provisions or conflict of law analysis
            of the venue where any action is brought, where the violation occurred, where the Company may be located
            or any other Jurisdiction. The Company agrees and consents to the exclusive jurisdiction of the state or
            federal courts located in Indianapolis, Indiana and waives any defense of lack of personal jurisdiction or
                                                                                        EXHIBIT A, Page 13 of 15
                                                                                                                              3:59:29 PM]




                                                     Exhibit A Page 48
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 39 of 84 Page ID #:50

Angie's List Legal Center

             improper venue or forum non conveniens to a claim brought in such court, except that Angie's List may
             elect, in its sole discretion, to litigate the action in the county or state where any breach by the Company
             occurred or where the Company can be found. The Company agrees that regardless of any statute or law to
             the contrary, any claim or cause of action arising out or related to your use of the Service or this Agreement
             shall be filed within one (1) year after such claim or cause of action arose or will forever be barred.

             In the event this Agreement is terminated, certain provisions of this Agreement will continue to remain in
             effect, including, but not limited to, Sections 4-7, 10, 19-26, and 28.

              The Company agrees to indemnify and hold Angie's List and each of its affiliates and subsidiaries and each
             of their respective owners, officers, agents, managers, partners, employees, agents and representatives
             harmless from any loss, liability, claim, or demand, including reasonable attorneys' fees (whether incurred in
             enforcing this Agreement or otherwise), made by any third party due to or arising out of the Company's use
             of Angie's List.

             Angie's List may modify or restate the Terms and Conditions of this Agreement and such modification(s)
            will be effective immediately upon being posted on the Website. Angie's List will make note of the date of
            the last update to the Agreement on the first page of this Agreement. The Company is responsible for
            reviewing these terms and conditions regularly. The Company's continued use of the Services after such
            modifications will be deemed to be the Company's conclusive acceptance of all modifications to this
            Agreement.

             The Company agrees that Angie's List shall be entitled to payment from the Company for any and all out-
            of-pocket costs, including, without limitation, attorneys' fees, incurred by Angie's List in connection with
            enforcing these Terms and Conditions and this Agreement or otherwise.

             The Services may be subject to limitations, delays and other problems Inherent in the use of the internet
            and electronic communications. Angie's List is not responsible for any delays, failures or other damage
            resulting from such problems.                                                               -




             This Agreement may not be re-sold or assigned by the Company. If the Company assigns, or tries to
            assign, this Agreement, such assignment or attempted assignment will be void and unenforceable. It will not
            be considered a waiver of Angie's List's rights if Angie's List fails to enforce any of the terms or conditions of
            this Agreement against the Company. In the event a court finds a provision in this Agreement to not be
-   --      valid, the Càmjañ' and Angie's List agrees that such court should Incorporate a similar provision that would         -   -



            be considered valid, with all other provisions remaining valid in the Agreement. No Joint venture,
            partnership, employment or agency relationship exists between the Company and Angie's List as a result of
            this Agreement or use of the Services.

             The person agreeing to this Agreement and the Terms and Conditions on behalf of the Company hereby
            represents and warrants that he/she has the power and authority to bind the Company and that this
            Agreement and the Terms and Conditions constitutes a valid and binding agreement of the Company.

            IF YOU DO NOT AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT, YOU
            MUST NOT USE THE SERVICES. BY USING THE SERVICES, YOU ACKNOWLEDGE THAT YOU HAVE
            READ AND UNDERSTOOD THE TERMS AND CONDITIONS OF THIS AGREEMENT AND YOU AGREE
            TO BE BOUND BY THESE TERMS AND CONDITIONS.



                                                                                        EXHIBIT A, Page 14 of 15
                                                                                                                           5/2019 3:59:29 PM]




                                                     Exhibit A Page 49
       Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 40 of 84 Page ID #:51

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                                                                          EXHIBIT A, Page 15 of 15
                                                                                                     3:59:29 PM)




                                      Exhibit A Page 50
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 41 of 84 Page ID #:52




                            EXHIBIT "B"


                               Exhibit A Page 51
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 42 of 84 Page ID #:53

Angie's List Legal Center




              Angiei list                                                                         Legal Center


              Privacy Policy

              Service Provider's User Agreement

              Terms of Use

              Projects Submission Customer Agreement

              Advertising and Deals Agreement

              Angie's List Mobile Alerts Terms and Conditions




              Privacy Policy
               Version 1.0 (Current)

              Effective April 7, 2017




              Angie's List Privacy Policy

              Last Modified February 13, 2017

              This Privacy Policy discloses our privacy practices and the possible uses of the information that we gather
              via http://www.angieslist.com/, our mobile application(s), and via other submissions by you to Angie's List
              (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
              Policy. If you do not agree to the terms and conditions of this Privacy Policy, including having your
              personally identifiable information ("Personal information" as defined below) used in any of the ways
              described in this Privacy Policy, you may not be able to use certain parts or features of our Site and
              Services, and in some instances, this may necessitate the revocation of your membership. Angle's List may
              update this Privacy Policy from time-to-time In our sole discretion. It is your responsibility to review the
              Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
              changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
              that you agree to and accept the Privacy Policy as modified.

              This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
              services, our print publications, our call center services, and other Angie's List products or services, This
              Privacy Policy is part of our Angie's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                            EXHIBIT B, Pagel of 15

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                                                       Exhibit A Page 52
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 43 of 84 Page ID #:54

Angles List Legal Center

            our Site and Services.

            Information Collected

            Angle's List collects information on our users in various ways, such as, by your voluntary submissions,
            participation in services provided via the Site and Services, from third parties with your consent, and through
            cookie and other tracking technology. Angie's List collects the following information:

                 . Personal Information

            "Personal Information" refers to information that tells us specifically who you are, such as your name, phone
            number, email, postal address, and possibly Information relating to certain support or customer service
            issues. In many cases, we need this information to provide to you many of the services that you may have
            requested.                                                               -




                 . Cellular Phone Numbers

            By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
            on our behalf to deliver autodialed or prerecorded telemarketing calls and/or text messages to the number
            you provide. You are not required to consent to these calls as a condition to purchasing any goods or
            services, but withholding your consent may prevent us from providing certain services to you. This consent
            encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
            party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
            contacting Angle's List, including by texting STOP.

                 . Submission of Reviews, Ratings, and Comments

            We collect information that you voluntarily provide as part of our Site and Services, including messages,
            posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
            Generated Content"). Angle's List may in our sole discretion share your User Generated Content with others
            such as your business reviews, if you do riot want certain information shared with others, you should not
            submit User Generated Content, or should not submit User Generated Content that contains information or
            Personal Information you do not want shared in this manner. Once You have submitted User Generated
            Content, we reserve the right to publish it in any medium to others.

                • Aggregate Information

            We may collect general, non-personal, statistical information about the use of the Site and Services, such
            as how many visitors visit a specific page on the Site, how long they stay on that page, and which
            hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
            collective viewing habits, and allows us and other third parties to modify information, promotions, offers
            and/or discounts on products and services based on user traffic and behavior. We collect this information
            through the use of technologies such as 'cookies' and web beacons, which are discussed In greater detail
            below. We collect this information in order to help enhance the Site and Services to make for a better visitor
            experience.

                • Third Party Information

            We may supplement information you provide to us with information from other sources, such as information
            to validate or update your address, payment card or other demographic and lifestyle information. We use
            this information to help us maintain the accuracy of the information we collect, to enable us to fulfill our
                                                                                        EXHIBIT B, Page 2 of 15
                                                                                                                              4:00:19 PM)




                                                    Exhibit A Page 53
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 44 of 84 Page ID #:55

Angie's List Legal Center

             products and services, to target our communications so that we can inform you of products, services and
             offers that may be of Interest, and for internal business analysis or other business purposes consistent with
             our mission.

                 • Cookies

             Angie's List may automatically collect non-personally identifiable information and data through the use of
             cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
             access to the website and facilitate the use of the website. Cookies also allow a website to track usage
             behavior and compile site usage information that will allow for the improvement of content and target
             advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
             remove them. You may set your browsers to notify you if you receive a cookie, or you may choose to block
             cookies with your browser. However, please be aware that some features of our Site and Services may not
            function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
            parties with links on the Site as described below. We do not directly control these cookies. The use of
            advertising cookies sent by third party ad servers is standard in the Internet Industry.

            We may use the services of third parties to collect and use anonymous information about your visits to and
            interactions with our website through the use of technologies such as cookies to personalize advertisements
            for goods and services. To learn more, or to opt-out of

            receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
            Advertising Alliance Consumer Choice Page at http://www.aboutads.info/choicesl.

                 • Other Tracking Technologies

            Tracking technologies may record information such as Internet domain and host names; protocol (IP)
            addresses; browser software and operating system types: clickstream patterns; the MAC address or other
            technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
            technologies: and dates and times that our Site and Services are accessed. An IP address is a number that
            is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
            that 'serve up' webpages, automatically Identify your computer by its IP address. The Site and Services may
            also use technology called "tracer tags". These may also be referred to as 'Pixels", "Clear GiFs" or "Web
            Beacons". This technology allows us to understand which pages you visit on our Site and other ways you
            Interact with our Site and Services, such as purchases made through the Site and Services. These tracer
            tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
            Services. We may link the information we record using tracking technologies to Personal Information we
            collect.

                    Do Not Track

           Do Not Track (DNT) is a privacy preference that users can set in some web browsers, allowing users to opt
           out of tracking by websites and online services. At the present time. the World Wide Web Consortium (W3C)
           has not yet established universal standards for recognizable DNT signals and therefore, Angle's List and the
            Site do not recognize ONT.

            Use of Information

           The information Angie's List collects is used in a variety of ways, including

                                                                                           EXHIBIT B, Page 3 of 15
                                                                                                                                4:00:19 PMJ




                                                     Exhibit A Page 54
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 45 of 84 Page ID #:56

 Angie's List Legal Center

                    • for internal review;

                    • to improve the Site and Services;

                    • to optimize third-party offers of products and/or services;

                   • to verify the legitimacy of reviews and ratings;

                   • to notify you about updates to the Site and Services;

                   • to let you know about products, services, and promotions that you may be interested in;

                   • to get reviews and ratings;

                   • for our marketing purposes and the marketing of discounts offorcd through our Sito and Sorviooc by
                       service contractors or health care related providers (collectively "Service Providers");

                   • to fulfill and provide products and services, including personalized or enhanced services, requested
                      by you; and

                   • internal business analysis or other business purposes consistent with our mission; and to carry out
                       other purposes that are disclosed to you and to which you consent.

               Disclosures and Transfers of Information

               We do not disclose Personal Information to third parties, except when one or more of the following
               conditions is true:

                   • We have your permission to make the disclosure;

                   • The disclosure is necessary for the purpose for which the personal information was obtained;

                   • The disclosure is to the service provider from whom you purchased services through Angie's List's
                       platform, including without limitation Big Deals, Storefronts, and project submissions;

                   • The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                       F         of goods and services requested by you;
          •        .   The disclosure is permitted by relevant law;

                   •   The Personal Information to be disclosed is otherwise publicly available in accordance with the
                       applicable law;

                   • The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                      assets;

                   • The disclosure is for our own marketing purposes (including, without limitation, for Angie's List to
                       market services to you on third-party social media platforms such as Facebook), or, with your
                       authorization, for the marketing purposes of third parties;

                   • The disclosure is combined with information collected from other companies and used to improve and
                       personalize services, content, and advertising from us or third parties;

                   • The party to whom the disclosure Is made controls, is controlled by, or is under common control with
                       Angie's List;

                                                                                            EXHIBIT B, Page 4 of 15
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                                                        Exhibit A Page 55
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 46 of 84 Page ID #:57

Angie's List Legal Center

                  • The disclosure is in our sole discretion necessary for the establishment or maintenance of legal
                     claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                     connection with litigation;

                  • The disclosure is in our sole discretion about users who we believe are engaged in Illegal activities or
                     are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                     warrant or court order; or

                  • The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                     Site and Services, mailing lists, processing orders and delivering products and services, sending
                     postal mail, processing claims for, lost or stolen certificates, providing marketing assistance,
                     confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                     including Administrative Service Providers outside the country or jurisdiction in which you reside.

             Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
             such outside parties to whom we are transferring data to provide for the allowable use and security of the
             transferred information in accordance with this Privacy Policy and applicable law. If Angie's List becomes
            aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
            outside party and request that it take reasonable steps to cease such use or disclosure.

            We may provide certain Personal Information as a service to others for their marketing purposes. We may
            also disclose your name and address to Service Providers when you submit User Generated Content
            relating to those Service Providers. If you properly notify us that you no longer want us to share your
            Personal Information, we will cease sharing your Personal Information. However, except as otherwise stated
            in this Privacy Policy, we do not directly control the third parties to which we share such Personal
            Information and you will need to further notify such third parties directly if you would like them to cease use
            of your Personal Information.

            We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
            existing or potential business partners or other third parties, or in response to a government request. We
            may also share aggregated demographic and preference data with third parties to enable the provision of
            targeted information, promotions, offers and/or discounts on products and services.

            Choice: Accessing Your Information and Opt-in/Opt-out Requests

            To help you review, edit, and control how we use much of the information we collect about you, you can visit
            your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
            information and unsubscribe from receiving specific types of email messages and telephone calls, including
            autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
            unsubscribe from our monthly digital magazine, which is a benefit that is included with your subscription.
            You cannot, however, unsubscribe from receiving certain emaiis, such as account status and billing related
            emails, unless you close your account and fulfill any existing contractual obligations.

            You can also ask us whether we are keeping information about you; ask how your Information is being
            used; ask us to update or correct your information; or opt-out of our collection and use of certain Information
            by sending an email to helpdesk©angiesllst.com or by writing us at Help Desk, Angie's List, 1030 E.
            Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request. If you choose to
            opt-out of the collection and use of certain of your information, you understand that some services, may no

                                                                                           EXHIBIT B, Page 5 of 15
                                                                                                                               4:00:19 PM]




                                                      Exhibit A Page 56
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 47 of 84 Page ID #:58

Angie's List Legal Center

              longer be available to you, potentially requiring the cancelation of your Membership. Please state in your
              correspondence the details of your request. We may require proof of your identity before we provide you
              with the requested information. We allow you to challenge the data that we hold about you and, where
              appropriate, you may have certain data erased, rectified, amended, or completed. Approved requests will be
              processed within ten (10) days of the date on which we receive the request.

              Data Security, integrity, and Access

              The Personal Information you provide and we collect is stored within databases that we control directly or
             through our Administrative Service Providers. As we deem appropriate and as required by the applicable
             law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
             Industry standards, including physical, organizational and technological protections, such as firewalls, to
             protect your Personal Information. We also use industry standard encryption technology to protect credit
             card and password information. However, since no security system is impenetrable, we cannot guarantee
             the security of our databases, nor can we guarantee that information you supply will not be intercepted while
             being transmitted to us over the Internet.

             Personal Information may only be accessed by persons within our organization, our third party service
             providers who require such access to provide you with the services Indicated above, or any other party that
             you have provided us with authorization to share such information with.

             We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
             for which it was collected or to otherwise meet any legal requirements.

             Your information may be transferred to, and maintained on, computers located outside of your state,
     -       province/territory, or country where the privacy laws may not be as protective as those where you live. If you      -   -



             are located outside the United States and choose to provide information to us, please be aware that we
             transfer Personal Information to the United States and process and store it there. As a result, this
             information may be subject to access requests from governments, courts, law enforcement officials and
             national security authorities in the United States according to its laws. Subject to the applicable laws, we will
             use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
             Personal Information. By submitting your Personal information, you consent to having your personal data
             transferred to, processed, and stored in the United States. Angle's List may assign you a user ID and a
         -   password when you as part of your participation and access to the Site and Services. Your user ID and
             password may only be used by you and the members of your household. You may not share your user ID
             and password with anyone else, and you are solely responsible for maintaining and protecting the
             confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
             user ID and password. You can access and update your login information on your 'Manage My Accounts"
             webpage.

             Credit Card Information

             We may share credit card information with trusted third parties in order to bill you for our service. We use
             third parties for secure credit card transaction processing, and we send billing information to those third
             parties to process your orders and payments or to validate your credit card information on the. Credit card
             information is encrypted during transmission and whenever stored within our systems or with our vendors. In
             addition to utilizing encryption that meets the US Government's FIPS 140-2 Certification, we take care to
             store only the amount of information required to bill you for services.
                                                                                          EXHIBIT B, Page 6 of 15
                                                                                                                                 4:00:19 PM]




                                                     Exhibit A Page 57
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 48 of 84 Page ID #:59

Angles List Legal Center


            Our credit card processing vendors use security measures to protect your information both during the
            transaction and after Vs complete. Credit card processing vendors are certified as compliant with multiple
            industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
            1, the SSAE-16 audit standard.

            Third Party Websltes and Links

            Please note that you may have cookies placed on your computer by third party websites that refer you to
            the Site. Although we do not share your Personal Information with these third party websites unless you
            have authorized us to do so, they may be able to link certain non-personally identifiable information we
            transfer to them with Personal information they previously collected from you. Please review the privacy
            policies of each website you visit to better understand their privacy practices. In addition, Angie's List would
            like to Inform you that anytime you click on links (including advertising banners), which take you to third
            party websites, you will be subject to the third parties' privacy policies. While we support the protection of
            our customer's privacy on the Internet, Angle's List expressly disclaims any and all liability for the actions of
            third parties, including but without limitation to actions relating to the use andlor disclosure of Personal
            Information by third parties.

            Our Site and Services may contain links to other sites operated by third parties. Angie's List does. not control
            such other sites and is not responsible for their content, their privacy policies, or their use of Personal
            information. Angie's List's Inclusion of such links does not, by itself, imply any endorsement of the content
            on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
            submitted by you directly to these third parties is subject to that third party's privacy policy.

            Children's Privacy

           Angie's List does not intend the Site and Services to be used by Individuals under the age of majority within
           the jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
           Angie's List relies upon such parents or guardians to determine if the Site and Services is appropriate for
           the viewing, access, or participation by such individuals under the age of majority. If an individual under the
           age of majority uses the Site and Services, such individual may only use the Site and Services under the
           supervision of a parent or guardian of majority age.

           We do: not seek or knowingly collect any Personal Information aboutchildren--under--13 years-of-age. If we.          -



           become aware that we have unknowingly collected Personal Information from a child under the age of 13,
           we will make commercially reasonable efforts to delete such information from our database.

           If you are the parent or guardian of a minor child who has provided us with Personal information, you may
           contact us using the information below to request it be deleted.

           Governing Law; Visitors Residing Outside the United States

           This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
           Angie's List provides its services.

           Your California Privacy Rights

           This privacy policy describes how we may share your Information for marketing purposes, it applies to all
           Angie's List customers, Including California residents:

                                                                                           EXHIBIT B, Page 7 of 15
                                                                                                                                4:00:19 PM]




                                                     Exhibit A Page 58
     Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 49 of 84 Page ID #:60

 Angie's List Legal Center

                     • We share information with others as more fully set forth above in Disclosures and Transfers of
                       Information.

                     • We share your information with other parts of our business and with our service providers. See
                       above: Disclosures and Transfers of Information.

               You may contact us with any questions, or to request a list of third parties to whom we may disclose
               Information for marketing purposes and the categories of information we may disclose. See below:
               How to Contact us.

               How To Contact us

               All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
               please contact our Privacy Officer by mail or email at the following:

               Attn: Privacy Officer

               Angie's List

               1030 E. Washington St.

               Indianapolis, IN 46202

               E-mail: privacyofficer©angieslist.com

               We welcome your questions and comments.

               Service Provider's User Agreement
              I Version 2.0 (Current)                                                                                       31
              Effective November 3, 2017
              Download




                    Summary of changes
             -



                    References to Member Reviews have been changed to Consumer Reviews.



              Service Provider's User Agreement

              Last Updated November 3, 2017

              Angie's List, Inc. allows consumers of Angie's List (collectively, the "Consumers') to provide reviews and
              ratings on a variety of service companies and health related providers (collectively, a "Service Provider)
              with whom they have had first-hand experiences. On behalf, and as representative, of a Service Provider
              ("You" or "company"), You are permitted to use the website (www.anglesllst.com) (the Webslte") and the
              information contained therein subject to the terms and conditions contained in this Service Provider's User
              Agreement, which may be modified, amended or replaced by Angie's List from time to time at Angie's List
              sole discretion (collectively, the "Agreement"). Such modifications will become effective Immediately upon

                                                                                         EXHIBIT B, Page 8 of 15
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                                                       Exhibit A Page 59
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 50 of 84 Page ID #:61

Angie's List Legal Center

             the posting thereof. This Agreement shall also govern other aspects of Your relationship with Angles List
             beyond Your use of the Website, as described herein.

             Inconsideration of Angie's List granting the Company access to its Website and the information contained
             therein, and in order to use the Website, You must read and accept all of the Terms and Conditions in, and
             linked to, this Agreement. It is the Company's responsibility to review this Agreement on a regular basis to
             keep itself informed of any modifications. BY ACCEPTING THE TERMS AND CONDITIONS OF THIS
             AGREEMENT, THE COMPANY ACKNOWLEDGES IT HAS READ, UNDERSTANDS AND AGREES TO
             BE BOUND BY ALL OF THE TERMS, CONDITIONS, AND NOTICES CONTAINED IN THIS AGREEMENT
             JUST AS IF YOU HAD SIGNED THIS AGREEMENT.

            Terms and Conditions

             Consumers may submit a review or report and other information (collectively, Consumer Content') on any
            Service Provider with which they have communicated or had another first-hand experience, whether or not
            work was started, performed, or completed. If the Company disputes any Consumer Content, the
            Company's sole course of action with respect to such Consumer Content as it relates to Angie's List and the
            Website is to utilize the Services (as defined below) which are available online at the Website.

            By agreeing to the Terms and Conditions of this Agreement, the Company Is hereby permitted to use the
            services offered to Service Provider's including, without limitation, access to "Business Center", the ability to
            review Consumer Content pertaining to the Company, the ability to submit responses to Consumer Content,
            the ability to update and maintain profile information on the Company, the ability to utilize the dispute
            resolution process offered through the Website and facilitated by Angie's List and such other services that
            Angie's List may offer to Service Providers from time to time (collectively, the "Services").

            By agreeing to the Terms and Conditions of this Agreement, Angie's List grants the Company a limited
            license to access and use the Website and the Services. Notwithstanding the foregoing, the Company
            acknowledges and agrees that it will not access, reproduce, duplicate, copy, sell, re-sell, visit or otherwise
            exploit the Website (or any of the content therein including, without limitation, any Consumer Content or any
            profiles of Angie's List members) or Services for any commercial or other purpose, without the express
            written consent of Angie's List.

            Angie's List does not endorse and is not responsible or liable for any Consumer Content, SF Content (as
            defined below), data, advertising, products, goods or services available or unavailable from, or through,
            Angie's List. The statements, Information and ratings contained in any Consumer Content are solely the
            opinion of the Consumer submitting such Consumer Content and do not reflect the opinion of Angie's List or
            any of its affiliates or subsidiaries or any of their respective owners, managers, officers, employees, agents
            or representatives.

            The Company acknowledges and understands that Angie's List simply acts as a passive conduit and an
            Interactive computer provider for the publication and distribution of Consumer Content and SP Content,
            Angle's List does not have any duty or obligation to Investigate the accuracy of Consumer Content or the
            quality of the work performed by the Company or any other Service Provider which Is the subject of any
            Consumer Content. By using the Services, the Company agrees that it is solely the Company's
            responsibility to evaluate the Company's risks associated with the use, accuracy, usefulness, completeness,
            appropriateness or legality of any information, responses, writings or other materials that the Company
            submits, transmits or otherwise conveys through the Services (collectively, "SP Content").
                                                                                         EXHIBIT B, Page 9 of 15
                                                                                                                        5/20194:00:19 PM1




                                                    Exhibit A Page 60
       Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 51 of 84 Page ID #:62

    Angie's List Legal Center


                 Under no circumstances will Angie's List be liable in any way for any Consumer Content or SP Content
                 Including, but not limited to, any Consumer Content or SP Content that contains, errors, omissions or
                 defamatory statements, or for any loss or damage of any kind incurred as a result of the use of any
                 Consumor Contont or SP Contont submitted, accossod, transmittod or otherwise convoyed via the Sorvicoc
                 or otherwise.

                 The Company hereby waives any claims, rights or actions that it may have against Ahgie's List or any of its
                 affiliates or subsidiaries with respect to any Consumer Content or SP Content and releases Angie's List and
                 each of its affiliates and subsidiaries from any and all liability for or relating to Consumer Content or SP
                 Content.

                 The Company agrees to Indemnify and hold Angie's List and each of its affiliates and subsidiaries and their
                 respective owners, managers, officers, employees, agents or representatives harmless for any damages
                 that may arise, directly or indirectly, from any claim or right it may have against Anie's List with respect to
                any statements made by a Consumer or Consumer Content submitted by a Consumer which is
                 communicated, posted or published by Angie's List on its Website or to a third party.

                The Company acknowledges and agrees that the Company can neither require Angie's List to place the
                Company on its Website nor remove the Company or any Consumer Content from Angie's List. The
                Company further acknowledges and understands that the Company is not a Consumer of Angie's List,
                cannot rofor to itsolf as a Consumer of Angle's List, and is not afforded tho camo occocs to the Wobsito ass
                Consumer nor the benefits afforded to a Consumer.

                The Company and its current or former owners, directors, managers, employees, agents and family
                members are expressly prohibited from purchasing gift memberships to Angie's List or reimbursing clients or
                customers for their Angie's List membership cost. In addition, individuals affiliated with the Company
                including, without limitation, current or former owners, current or former employees or officers, family
                members, or current or former partners, investors, managers or directors (collectively, the 'Affiliated
                Persons') may not submit Consumer Content to Angie's List on the Company. The Company hereby
                acknowledges and agrees that to the extent an Affiliated Person has submitted or posted any Consumer
                Content on the Company or any company or person competitive to the Company, or believes that
                Consumer Content was posted by an Affiliated Person that Angle's List may Immediately remove such
                Consumer Content without notice or recourse against Angie's List.

                SP Content shall not contain any unauthorized content which includes but is not limited to:

                   Offensive, harmful and/or abusive language, including without limitation: expletives, profanities,
                obscenities, harassment, vulgarities, sexually explicit language and hate speech (e.g., racist/discriminatory
                speech.);

                   Comments that do not address the Consumer Content or comments with no qualitative value as
                determined by Angie's List in its sole discretion;

                   Content that contains personal attacks or describes physical confrontations and/or sexual harassment;

                   Messages that are advertising or commercial in nature, or are inappropriate based on the applicable
•               subject matter;

                   Language that violates the standards of good taste or the standards of the Website, as determined by
                                                                                            EXHIBIT B, Page 10 of 15
                                                                                                                            5/2039 4:00:19 PM]




                                                         Exhibit A Page 61
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 52 of 84 Page ID #:63

 Angie's List Legal Center

               Angie's List in its sole discretion;

                    Content determined by Angie's List, in its sole discretion, to be illegal, or to violate any federal, state, or
               local law or regulation or the rights of any other person or entity;

                    Language intended to impersonate other users (including names of other Individuals) or to be offensive or
               inappropriate user names or signatures; and/or

                    Content that is not in English, that is encrypted or that contains viruses, Trojan horses, worms, time
               bombs, cancelbots or other computer programming routines that are intended to damage, interfere with,
               intercept or appropriate any system, data or personal information.

               The Company acknowledges and agrees that Angie's List in its sole discretion may remove without notice
               any SP Content or any portion thereof that Angie's List believes violates the foregoing.

               Angle's List may suspend, restrict or terminate the Company's use of the Services or any portion thereof if
               the Company breaches or fails to comply with any of the Terms and Conditions of this Agreement.

               Although Angie's List does not claim ownership of any SP Content or other communications or materials
               submitted by or given by the Company to Angle's List, by providing SP Content for the Website or other
              mediums, the Company automatically grants, and the Company represents and warrants that the Company
              has the right to grant, to Angie's List an irrevocable, perpetual, non-exclusive, fully paid, worldwide license
               to use, copy, perform, display, reproduce, adapt, modify, and distribute such SP Consent and to prepare
              derivative works of, or incorporate into other works, such SP Content, and to grant and to authorize
               subhcenses (through multiple tiers) of the foregoing: In addition, by providing Angie's List with SP Content,
              the Company automatically grants Angie's List all rights necessary to prohibit the subsequent aggregation,
              display, copying, duplication, reproduction or exploitation of SP Content on the Website or in any other
              medium by any other party. No compensation will be paid with respect to Angie's List use of SP Content.
              Angie's List is under no obligation to post or use any of SP Content or maintain SP Content. Angle's List
              may remove SP Content at any time in Angie's List sole discretion.

              It is the Company's sole responsibility to review and monitor any Consumer Content regarding the Company
              that is posted by Consumers and to submit responses it deems necessary to any Consumer Content.
              Angie's List does not have any obligation to provide a notice or update to the Company with respect to any
              new information or Consumer Content that it learns of or. receives about the Company from its Consumers.

              The Company has the sole responsibility of updating any and all of its information on the Website including,
              without limitation, the Company's description and profile information.

              The Company agrees not to use or cause any robot, bot, spider, other automatic device, or computer
              program routine or manual process to monitor, duplicate, take, obtain, transfer, modify, use, reproduce,
              aggregate or copy Angle's List, any Consumer Content, any Consumer profiles, SP Content (including SP
              profiles) or any other content contained on the Website or any other publication of Angle's List. You shall not
              use or cause any device1 software, or routine to Interfere or attempt to interfere with the proper working of
              the Website.

              The Company hereby represents and warrants to Angie's List that (a) all information provided to Angie's List
              by the Company Is true, complete and accurate In all respects, and (b) the Company is authorized to submit
              Information to Angie's List. Angie's List is authorized by the Company to rely upon the truthfulness,

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                                                           Exhibit A Page 62
    Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 53 of 84 Page ID #:64
Angie's Li st Legal Center

             completeness and accuracy of SP Content in order to serve its Consumers.

             The Company acknowledges that the Website utilizes one or more website analytic services, including,
             without limitation, Clicklale, which may record mouse clicks, mouse movements, scrolling activity and text
             entered into the Website by users. These services do not collect personally identifiable Information that is
             not voluntarily entered into the Website by the user. Angie's List uses the information collected by these
             service providers to improve the usability and other features of the Website. Users may choose to disable
             the ClickTale service at http://www.clicktale.netldisable.htrnl.

             The Company acknowledges that Angie's List will use the telephone numbers, email addresses and
             facsimile numbers that are submitted to Angie's List in connection with registering with Angie's List to
             contact the Company with information regarding Angie's List. Angie's List agrees not to sell, trade, rent or
             share such information with any third parties. By providing a wireless phone number to Angie's List,
             Company agrees that Angie's List may call or send text messages to the wireless phone number for any
             purpose, including marketing purposes, using all methods now known and discovered in the future,
             including, but not limited to, auto-dialers, pre-recordings, and general telemarketing practices. Company
             agrees that these calls or text messages may be regarding the products and/or services that Company has
             previously purchased and products and/or services that Angie's List may market to me. Company
             acknowledges that this consent may be removed upon request.

             To the extent a third party posts or submits any SP Content or manages the Company's profile or
             information on the Website, the Company hereby acknowledges and agrees that the Company shall remain
            fully responsible for any SP Content or information posted or submitted by such third party.

            The Company agrees unless expressly authorized by Angie's List not to access, copy, duplicate use,
            reproduce, alter, modify, create derivative works, display, sell, re-sell, advertise or market with or otherwise
            exploit for any commercial, educational or other purpose any Consumer Content, any Consumer profiles,
            any SP profiles, or any other content from the Website or Angle's List, including, without limitation, any
            reviews or ratings or any other content contained in any Consumer Content.

            Angie's List is the owner and/or authorized user of any trademark and/or service mark, including, without
            limitation, the name "Angie's List", appearing on the Website and is copyright owner or licensee of the
            content and/or information on the Website. By placing them on the Website, Angie's List does not grant the
            Company any license or other authorization to copy or use its trademarks, service marks, copyrighted
•           material, or other intellectual property, except as provided herein.

            Angie's List reserves the right to exercise any rights or remedies which may be available to it against the
            Company if the Terms and Conditions of this Agreement are violated by the Company. These remedies
            include, but are not limited to, revocation of (a) Super Service Awards (present & past) and any associated
            license, (b) advertising privileges, (c) use of the Services, or (d) appearances on the Website and/or any
            other appearances in any Angie's List's publication, and Company agrees that the exercise of one remedy
            shall not preclude the availability of any other remedy.

            The Company understands and agrees that, because damages resulting from Company's breach of this
            Agreement are difficult to calculate, if it becomes necessary for Angle's List to pursue legal action to enforce
            the Terms and Conditions of this Agreement, the Company will be liable to pay Angle's List the following
            amounts as liquidated damages, which the Company accepts as reasonable estimates of Angie's List's
            damages for the specified breaches of this Agreement:
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                                                     Exhibit A Page 63
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 54 of 84 Page ID #:65

Angles List Legal Center


              If the Company posts SP Content In violation of this Agreement, the Company agrees to promptly pay
            Angie's List One Thousand Dollars ($1,000) for each Item of SP Content posted In violation of this
            Agreement. Angie's List may (but is not required) issue the Company a warning before assessing damages.

               If the Company exploits for any purpose (commercial or otherwise) any Consumer Content, profiles of
            Angie's List members or any other information contained on the Website including, without limitation, ratings
            and/or reviews in violation of this Agreement, the Company agrees to pay Ten Thousand Dollars ($10,000)
            per report, record or review exploited

               If the Company uses or causes any robot, bot, spider, other automatic device or computer program
            routine or any manual process to monitor, duplicate, take, aggregate, obtain, modify, use, reproduce or copy
            any Consumer Content, any profiles of Angie's List members, SP content (including SP profiles) or any
            other content contained on the Website or in any other publication of Angie's List, the Company agrees to
            pay One Hundred Dollars ($100) for each report, record, review or other information that is monitored,
            duplicated, transferred, taken, obstructed, modified, used, reproduced, aggregated or copied.

               Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, the Company agrees to pay
            the actual damages suffered by Angie's List to the extent such actual damages can be reasonably
            calculated.

            Notwithstanding any other provision of this Agreement, the Company reserves the right to seek the remedy
            of specific performance of any term contained herein, or a preliminary or permanent injunction against the
            breach of any such term or in aid of the exercise of any power granted in this Agreement, or any
            combination thereof.



            THE COMPANY EXPRESSLY UNDERSTANDS AND AGREES THAT ANGIE'S LIST WILL NOT BE
            LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, COMPENSATORY,
            CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN IF ANGIE'S LIST HAS BEEN ADVISED OF THE
            POSSIBILITY OF SUCH DAMAGES) (COLLECTIVELY, "DAMAGES"), RESULTING FROM: (A) THE USE
            OR INABILITY TO USE THE SERVICES; (B) THE COST OF ANY GOODS AND/OR SERVICES
            PURCHASED OR OBTAINED AS A RESULT OF THE USE OF THE SERVICES; (C) DISCLOSURE OF,
            UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR SPCONTENT; (D)SP—
            CONTENT THE COMPANY MAY SUBMIT, RECEIVE, ACCESS, TRANSMIT OR OTHERWISE CONVEY
            THROUGH THE SERVICES OR THIS AGREEMENT; (E) STATEMENTS OR CONDUCT OF ANY
           CONSUMER OR OTHER THIRD PARTY THROUGH THE SERVICES; (F) ANY OTHER.MATTER
           RELATING TO THE SERVICES; (G) ANY BREACH OF THIS AGREEMENT BY ANGIE'S LIST OR THE
           FAILURE OF ANGIE'S LIST TO PROVIDE THE SERVICES UNDER THIS AGREEMENT; (H) ANY
           CONSUMER CONTENT POSTED; OR (I) ANY OTHER DEALINGS OR INTERACTIONS THE COMPANY
           HAS WITH ANY SERVICE PROVIDER (OR ANY OF THEIR REPRESENTATIVES OR AGENTS). THESE
           LIMITATIONS SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW. In some jurisdictions,
           limitations of liability are not permitted. In such Jurisdictions, some of the foregoing limitations may not apply
           to the Company.

           TO THE EXTENT ANGIE'S LIST IS FOUND LIABLE FOR ANYTHING RELATED TO THIS AGREEMENT
           OR THE USE OF THE SERVICES, ANGIE'S LIST'S LIABILITY FOR DAMAGES WILL NOT EXCEED ONE

                                                                                        EXHIBIT B, Page 13 of 15
                                                                                                                        5/2019 4:00:19 PM]




                                                     Exhibit A Page 64
         Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 55 of 84 Page ID #:66

      Angles List Legal Center

                    HUNDRED DOLLARS ($100.00).

                    This Agreement and the relationship between the Company and Angie's List will be governed by the internal
•                   laws of the State of Indiana, notwithstanding the choice of law provisions or conflict of law analysis of the
                    venue where any action is brought, where the violation occurred, where the Company may be located or
                    any other jurisdiction. The Company agrees and consents to the exclusive jurisdiction of the state or federal
                    courts located In Indianapolis, Indiana and waives any defense of lack of personal jurisdiction or Improper
                    venue or forum non conveniens to a claim brought in such court, except that Angie's List may elect, in its
                    sole discretion, to litigate the action in the county or state where any breach by the Company occurred or
                    where the Company can be found. The Company agrees that regardless of any statute or law to the
                    contrary, any claim or cause of action arising out or related to your use of the Service or this Agreement
                    shall be filed within one (1) year after such claim or cause of action arose or will forever be barred.

                   In the event this Agreement is terminated, certain provisions of this Agreement will continue to remain in
                   effect, including, but not limited to, Sections 4-7, 10, 19-26, and 28.

                   The Company agrees to indemnify and hold Angie's List and each of its affiliates and subsidiaries and each
                   of their respective owners, officers, agents, managers, partners, employees, agent's and representatives
                   harmless from any loss, liability, claim, or demand, including reasonable attorneys' fees (whether incurred in
                   enforcing this Agreement or otherwise), made by any third party due to or arising out of the Company's use
                   of Angie's List,

                   Angie's List may modify or restate the Terms and Conditions of this Agreement and such modification(s) will
                   be effective immediately upon being posted on the Website. Angie's List will make note of the date of the
                   last update to the Agreement on the first page of this Agreement, The Company is responsible for reviewing
                   these terms and conditions regularly, The Company's continued use of the Services after such modifications
                   will be deemed to be the Company's conclusive acceptance of all modifications to this Agreement.

                   The Company agrees that Angie's List shall be entitled to payment from the Company for any and all out-of-
                   pocket costs, including, without limitation, attorneys' fees, incurred by Angie's List in connection with
                   enforcing these Terms and Conditions and this Agreement or otherwise.

                   The Services may be subject to limitations, delays and other problems Inherent in the use of the internet
                   and electronic communications, Angle's List is not responsible for any delays, failures or other damage
                   resulting from such problems.

                   This Agreement may not be re-sold or assigned by the Company. if the Company assigns, or tries to assign,
                  this Agreement, such assignment or attempted assignment will be void and unenforceable. It will not be
                  considered a waiver of Angie's List's rights if Angie's List fails to enforce any of the terms or conditions of
                  this Agreement against the Company. in the event a court finds a provision in this Agreement to not be
                  valid, the Company and Angie's List agrees that such court should incorporate a similar provision that would
                  be considered valid, with all other provisions remaining valid in the Agreement. No Joint venture,
                  partnership, employment or agency relationship exists between the Company and Angie's List as a result of
                  this Agreement or use of the Services.

                  The person agreeing to this Agreement and the Terms and Conditions on behalf of the Company hereby
                  represents and warrants that he/she has the power and authority to bind the Company and that this
                  Agreement and the Terms and Conditions constitutes a valid and binding agreement of the Company.

                                                                                              EXHIBITS, Page 14 of 15
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                                                            Exhibit A Page 65
       Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 56 of 84 Page ID #:67

    Angie's List Legal Center

                 IF YOU DO NOT AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT, YOU
•                MUST NOT USE THE SERVICES. BY USING THE SERVICES, YOU ACKNOWLEDGE THAT YOU HAVE
                 READ AND UNDERSTOOD THE TERMS AND CONDITIONS OF THIS AGREEMENT AND YOU AGREE
•                TO BE BOUND BY THESE TERMS AND CONDITIONS.




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                                                                                   EXHIBIT B, Page 15 of 15
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                                             Exhibit A Page 66
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 57 of 84 Page ID #:68




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                           EXHIBIT "C"



                               Exhibit A Page 67
        Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 58 of 84 Page ID #:69

     Angie's List Legal Center




                  Angiei list                                                                       Legal Center


                  Privacy Policy

                  Service Provider's User Agreement

                  Terms of Use,

                  Projects Submission Customer Agreement

                  Advertising and Deals Agreement

                 Angie's List Mobile Alerts Terms and Conditions




                 Privacy Policy


                 Effective April 7, 2017




                 Angie's List Privacy Policy

                 Last Modified February 13, 2017

                 This Privacy Policy discloses our privacy practices and the possible uses of the information that we gather
______________   vla..http:/M. angieslist.com/, our mobile—application(s),—and via_other submissions by ,you to Angie's List—
                 (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
                 Policy. If you do not agree to the terms and conditions of this Privacy Policy, including having your
                 personally identifiable information ("Personal Information" as defined below) used in any of the ways
                 described in this Privacy Policy, you maynot be able to use certain parts or features of our Site and
                 Services, and in some instances, this may necessitate the revocation of your membership. Angie's List may
                update this Privacy Policy from time-to-time in our sole discretion. It is your responsibility to review the
                Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
                changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
                that you agree to and accept the Privacy Policy as modified.

                This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
               services, our print publications, our call center services, and other Angie's List products or services, This
               Privacy Policy is part of our Angie's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                              EXHIBIT C, Page 1 of 8
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                                                         Exhibit A Page 68
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 59 of 84 Page ID #:70

Angie's List Legal Center

             our Site and Services.

             Information Collected

             Angie's List collects information on our users in various ways, such as, by your voluntary submissions,
             participation in services provided via the Site and Services, from third parties with your consent, and through
             cookie and other tracking technology. Angie's List collects the following information:

                 . Personal Information

            "Personal Information" refers to information that tells us specifically who you are, such as your name, phone
            number, email, postal address, and possibly information relating to certain support or customer service
            Issues. in many cases, we need this Information to provide to you many of the services that you may have
            requested.

                 • Cellular Phone Numbers

            By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
            on our behalf to deliver autodialed or prerecorded telemarketing calls and/or text messages to the number
            you provide. You are not required to consent to these calls as a condition to purchasing any goods or
            services, but withholding your consent may prevent us from providing certain services to you. This consent
            encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
            party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
            contacting Angie's List, including by texting STOP.

                • Submission of Reviews, Ratings, and Comments

           We collect information that you voluntarily provide as part of our Site and Services, including messages,
           posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
           Generated Content"). Angle's List may in our sole discretion share your User Generated Content with others
           such as your business reviews. If you do not want certain information shared with others, you should not
           submit User Generated Content, or should not submit User Generated Content that contains Information or
           Personal Information you do not want shared in this manner. Once You have submitted User Generated
           Content, we reserve the right to publish it in any medium to others.

                • Aggregate Information

           We may collect general, non-personal, statistical information about the use of the Site and Services, such
           as how many visitors visit a specific page on the Site, how long they stay on that page, and which
           hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
           collective viewing habits, and allows us and other third parties to modify information, promotions, offers
           and/or discounts on products and services based on user traffic and behavior. We collect this information
           through the use of technologies such as 'cookies' and web beacons, which are discussed in greater detail
           below. We collect this information in order to help enhance the Site and Services to make for a better visitor
           experience,

                   Third Party Information

           We may supplement information you provide to us with information from other sources, such as information
           to validate or update your address, payment card or other demographic and lifestyle information. We use
           this Information to help us maintain the accuracy of the Information we collect, to enable us to fulfill our
                                                                                        EXHIBIT C, Page 2 of 8
                                                                                                                    5/20193:58:17 PM]




                                                    Exhibit A Page 69
      Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 60 of 84 Page ID #:71

   Angles List Legal Center


                 products and services, to target our communications so that we can inform you of products, services and
                 offers that may be of interest, and for internal business analysis or other business purposes consistent with
                 our mission.

                     • Cookies

                Angles List may automatically collect non-personally identifiable information and data through the use of
                cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
                access to the website and facilitate the use of the webslte. Cookies also allow a website to track usage
                behavior and compile site usage Information that will allow for the improvement of content and target
                advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
                remove them. You may set your browsers to notify you if you rocoivo a cookio, or you may chooco to block
                cookies with your browser. However, please be aware that some features of our Site and Services may not
                function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
                parties with links on the Site as described below. We do not directly control these cookies. The use of
                advertising cookies sent by third party ad servers is standard in the Internet industry.

                We may use the services of third parties to collect and use anonymous Information about your visits to and
                interactions with our website through the use of technologies such as cookies to personalize advertisements
                for goods and services. To learn more, or to opt-out of

               receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
               Advertising Alliance Consumer Choice Page at http:/fwww.aboutadsjnfo/choicesf.

                    • Other Tracking Technologies

               Tracking technologies may record information such as Internet domain and host names; protocol (IP)
               addresses; browser software and operating system types; chckstream patterns; the MAC addressor other
               technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
               technologies; and dates and times that our Site and Services are accessed. An IP address is a number that
               is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
               that 'serve up' webpages, automatically identify your computer by its IP address. The Site and Services may
               also use technology called "tracer tags". These may also be referred to as "Pixels", "Clear GlFs" or "Web
               Beacons". This technology allows us to understand which pages you visit on our Site and other.ways you
              Interact with our Site and Services, such as purchases made through the Site and Services. These tracer
              tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
              Services. We may link the information we record using tracking technologies to Personal Information we
              collect.

                   • Do Not Track

              Do Not Track (DNT) is a privacy preference that users can set in some web browsers, allowing users to opt
              out of tracking by websites and online services. At the present time, the World Wide Web Consortium (W3C)
              has not yet established universal standards for recognizable DNT signals and therefore, Angle's List and the
              Site do not recognize DNT.

              Use of Information

              The Information Angle's List collects Is used in a variety of ways, Including

                                                                                                                 EXHIBIT C, Page 3 of 8
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                                                                  Exhibit A Page 70
           Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 61 of 84 Page ID #:72

        Angles List Legal Center


                           • for internal review;

                           • to improve the Site and Services;

                           • to optimize third-party offers of products and/or services;

                           • to verify the legitimacy of reviews and ratings;

                           • to notify you about updates to the Site and Services;

                           • to let you know about products, services, and promotions that you may be interested In;

                           • to get reviews and ratings;

                -          •    for our marketing purposes and the marketing of discounts offered through our Site and Services by
                                service contractors or health care related providers (collectively "Service Providers");

                        • to fulfill and provide products and services, including personalized or enhanced services, requested
                           by you; and

                        • internal business analysis or other business purposes consistent with our mission; and to carry out
                           other purposes that are disclosed to you and to which you consent.

                    Disclosures and Transfers of information

                    We do not disclose Personal Information to third parties, except when one or more of the following
                    conditions is true;

                        • We have your permission to make the disclosure;

                        • The disclosure is necessary for the purpose for which the personal information was obtained;

                       • The disclosure is to the service provider from whom you purchased services through Angle's List's
                          platform, Including without limitation Big Deals, Storefronts, and project submissions;

                       • The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                          provision of goods and services requested by you;

                       • The disclosure is permitted by relevant law;
-   -    -

                       •       The Personal information to be disclosed is otherwise publicly available In accordance with the           -



                               applicable law;

                       • The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                          assets;

                       • The disclosure is for our own marketing purposes (including, without limitation, for Angle's List to
                               market services to you on third-party social media platforms such as Facebook), or, with your
                               authorization, for the marketing purposes of third parties;

                       • The disclosure is combined with information collected from other companies and used to improve and
                          personalize services, content, and advertising from us or third parties:

                       • The party to whom the disclosure is made controls, Is"controlled by, or is under common control with
                         Angle's List;

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                                                                 Exhibit A Page 71
   Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 62 of 84 Page ID #:73

Angles List Legal Center

                 • The disclosure is in our sale discretion necessary for the establishment or maintenance of legal
                    claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                    connection with litigation;

                 • The disclosure is in our sole discretion about users who we believe are engaged in illegal activities or
                    are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                    warrant or court order; or

                • The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                   Site and Services, mailing lists, processing orders and delivering products and services, sending
                   postal mail, processing claims for lost or stolen certificates, providing marketing assistance,
                   confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                   Including Administrative Service Providers outside the country or jurisdiction in which you reside.

            Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
            such outside parties to whom we are transferring data to provide for the allowable use and security of the
            transferred information in accordance with this Privacy Policy and applicable law. If Angie's List becomes
           aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
           outside party and request that it take reasonable steps to cease such use or disclosure.

           We may provide certain Personal information as a service to others for their marketing purposes. We may
           also disclose your name and address to Service Providers when you submit User Generated Content
           relating to those Service Providers, If you properly notify us that you no longer want us to share your
           Personal Information, we will cease sharing your Personal information. However, except as otherwise stated
           in this Privacy Policy, we do not directly control the third parties to which we share such Personal
           Information and you will need to further notify such third parties directly if you would like them to cease use
           of your Personal Information.

           We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
           existing or potential business partners or other third parties, or in response to a government request. We
           may also share aggregated demographic and preference data with third parties to enable the provision of
           targeted information, promotions, offers and/or discounts on products and services.

           Choice: Accessing Your Information and Opt-in/Opt-out Requests

           To help you review, edit, and control how we use much of the information we collect about you, you can visit
           your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
           information and unsubscribe from receiving specific types of email messages and telephone calls, including
          autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
          unsubscribe from our monthly digital magazine, which is a benefit that is included with your subscription.
          You cannot, however, unsubscribe from receiving certain emails, such as account status and billing related
          emails, unless you close your account and fulfill any existing contractual obligations.

          You can also ask us whether we are keeping Information about you; ask how your Information Is being
          used; ask us to update or correct your information; or opt-out of our collection and use of certain information
          by sending an email to heIpdeskangieslist.com or by writing us at Help Desk, Angie's List, 1030 E.
          Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request. If you choose to
          opt-out of the collection and use of certain of your information, you understand that some services, may no

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                                                    Exhibit A Page 72
       Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 63 of 84 Page ID #:74

    Angie's List Legal Center

                 longer be available to you, potentially requiring the cancelation of your Membership. Please state in your
                 correspondence the details of your request. We may require proof of your identity before we provide you
                 with the requested information. We allow you to challenge the data that we hold about you and, where
                 appropriate, you may have certain data erased rectified, amondod, or complotod. Approved roquocto will bo
                 processed within ten (10) days of the date on which we receive the request.

                Data Security, Integrity, and Access

                The Personal Information you provide and we collect is stored within databases that we control directly or
                through our Administrative Service Providers. As we deem appropriate and as required by the applicable
                law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
                industry standards, Including physical, organizational and technological protections, such as firewails, to
•               protect your Personal Information. We also use industry standard encryption technology to protect credit
                card and password Information. However, since no security system Is impenetrable, we cannot guarantee
•               the security of our databases, nor can we guarantee that Information you supply will not be intercepted while
                being transmitted to us over the Internet.

•               Personal Information may only be accessed by persons within our organization, our third party service
-               providers who require such access to provide you with the services Indicated above, or any other party that
                you have provided us with authorization to share such information with.

                We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
                for which it was collected or to otherwise meet any legal requirements.

               Your information may be transferred to, and maintained on, computers located outside of your state,
               province/territory, or country where the privacy laws may not be as protective as those where you live. If you
               are located outside the United States and choose to provide information to us, please be aware that we
               transfer Personal Information to the United States and process and store it there. As a result, this
               information may be subject to access requests from governments, courts, law enforcement officials and
               national security authorities in the United States according to its laws. Subject to the applicable laws, we will
               use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
               Personal Information. By submitting your Personal Information, you consent to having your personal data
               transferred to, processed, and stored in the United States, Angie's List may assign you a user ID and a
               password when you as part of your participation and access to the Site and Services. Your user ID and
               password may only be used by you and the members of your household. You may not share your user ID
               and password with anyone else, and you are solely responsible for maintaining and protecting the
               confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
               user ID and password. You can access and update your login Information on your "Manage My Accounts"
               webpage.

               Credit Card Information

               We may share credit card information with trusted third parties in order to bill you for our service. We use
               third parties for secure credit card transaction processing, and we send billing Information to those third
               parties to process your orders and payments or to validate your credit card information on file. Credit card
              information is encrypted during transmission and whenever stored within our systems or with our vendors. In
              addition to utilizing encryption that meets the US Government's FIPS 140-2 Certification, we take care to
              store only the amount of Information required to bill you for services.
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                                                        Exhibit A Page 73
                  Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 64 of 84 Page ID #:75

                Angie's List Legal Center


                             Our credit card processing vendors use security measures to protect your information both during the
                             transaction and after it's complete. Credit card processing vendors are certified as compliant with multiple
                             industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
                             1, the SSAE-16 audit standard.

                            Third Party Websites and Links

                            Please note that you may have cookies placed on your computer by third party websites that refer you to
                            the Site. Although we do not share your Personal Information with these third party websltes unless you
                            have authorized us to do so, they may be able to link certain non-personally identifiable information we
                             transfer to them with Personal Information they previously collected from you. Please review the privacy
                            'policies of each website you visit to better understand their privacy practices. In addition, Angie's List would
                            like to inform you that anytime you click on links (including advertising banners), which take you to third
                            party websites, you will be subject to the third parties' privacy policies. While we support the protection of
                            our customer's privacy on the Internet, Angie's List expressly disclaims any and all liability for the actions of
    •                       third parties, including but without limitation to actions relating to the use and/or disclosure of Personal
                            Information by third parties.

                            Our Site and Services may contain links to other sites operated by third parties. Angie's List does not control
                            such other sites and is not responsible for their content, their privacy policies, or their use of Personal
                            Information. Angie's List's inclusion of such links does not, by itself, imply any endorsement of the content
                            on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
                            submitted by you directly to these third parties is subject to that third party's privacy policy.

                            Children's Privacy

                           Angie's List does not intend the Site and Services to be used by individuals under the age of majority within
                           the Jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
                           Angie's List relies upon such parents or guardians to determine if the Site and Services Is appropriate for
                           the viewing, access, or participation by such individuals under the age of majority. If an individual under the
                           age of majority uses the Site and Services, such individual may only use the Site and Services under the
                           supervision of a parent or guardian of majority age.

-       -   -    -
                           We do not seek or knowingly collect any Personal information about children under 13 years of age. If we               -     -


                           become aware that we have unknowingly collected Personal Information from a child under the age of 13,
                           we will make commercially reasonable efforts to delete such information from our database.

                           If you are the parent or guardian of a minor child who has provided us with Personal Information, you may
                           contact us using the information below to request it be deleted.

                           Governing Law; Visitors Residing Outside the United States

                           This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
                           Angie's List provides its services.

                           Your California Privacy Rights

                          This privacy policy describes how we may share your information for marketing purposes. It applies to all
                          Angle's List customers, including California residents:

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                                                                     Exhibit A Page 74
       Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 65 of 84 Page ID #:76

    Angie's List Legal Center

                      • We share Information with others as more fully set forth above in Disclosures and Transfers of
                        Information.

                      • We share your information with other parts of our business and with our service providers. See
                         above: Disclosures and Transfers of Information.

                 You may contact us with any questions, or to request a list of third parties to whom we may disclose
                 Information for marketing purposes and the categories of Information we may disclose. See below:
                 How to Contact us.

                How To Contact us

                All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
                please contact our Privacy Officer by mail or email at the following:

                Attn: Privacy Officer

                Angle's List

                1030 E. Washington St.

                Indianapolis, IN 46202

                E-mail: privacyofflcerangiesIist.com

-               We welcome your questions and comments.




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    8. This case lii Is C is not a class action suit.                               -


    6. If there areany known related oases, flleand serve n notice of related
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     .
     ,Plaintiff must file this cover sheet with the first paper flied In The action or proceeding (except small oieime oases or eases flied-
      yhder the Probate Code Family Code or Welfare and Institutions Code). (Cal. Rules of Court, rule 3,220,) Failure to flie may result
        In sanctions.                                            -                                    -       -'
     • File this cover sheet in addition to any cover sheet required by local court rule.                 -

     • If This case Is complex under rule 3.400 at seq. or the California Rules ofCouit you mustsorve's copy of this cover sheet on all
        other parties to the action or proceeding.                                               -

      a Unless this Is collections case under rule V.40 era compiex-osse, this-qçver sheet will be-used foreatistICai purposes only.

                                                                                    'COVER -SHEET




                                                           Exhibit A Page 76
          Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 67 of 84 Page ID #:78



                                                                                                                                                     CM-010
                                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                To Plaintiffs and Others Filing First Papers. if you are filing a first paper (for example, a complaint) in a civil case, you must
                complete and file! along with your first paper, the Civil Case Cover Sheotcontained on page 1. This information will be used to compile
                statistics about the types and numbers of cases flied. You must complete Items 1 through 6 on the sheet. in item 1, you must check
                one box for the case type that best describes the case, if the case fits both a general and a more specific type of case listed In item 1,
                check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action!
                To assist you in completing the sheet, examples of the cases that belong under each case type in Item I are provided below. A cover
               sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper flied in a civil case may subject a party,
               Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
               To Parties in Rule 3.140 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
               owed in a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorneys fees, arising from a transaction in
               which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
               damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
               attachment, The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
               time-for-service requirements and case management rules, unless a de fendant files a responsive pleading. A rule 3.740 collections
               case will be subject to the requirements for service and obtaining a judgment in Rile 3.740.
               'to r'arties in complex cases, in complex cases only, pat-flee must also use the Civil Case Cover Sheet to designate whether the
               case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
               completing the appropriate boxes in Items I and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
               complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
               plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
               the case is complex.
                                                                              CASE TYPES AND EXAMPLES
               Auto Tort                                           Contract                                            Provisionally Complex civil Litigation (Cal.
                   Auto (22)-Personal injury/Property                  Breach of ConuactnNarranty (06)                 Rules of Court Rules 3.400-3.403)
                         DamageAVrcngftui Death                           Breach of Rental/Lease                            Antitrust/Trade Regulation (03)
                    Uninsured Motorist (46) (if the                           Contract (not unlawful defamer                Construction Defect It 0)
                        case Involves an uninsured                                or wrongful evict/on)                     Claims involving Mass Tort (40)
                        motorist claim subject to                         ContractNvarranty Breach-Seller                   Securities Litigation (28)
                        arbitration, check this Item                          Plaintiff (not fraud or negligence)           Environmental/Toxic Tort (30)
                        Instead of Auto)                                  Negilgent Breach of Contract/                     insurance Coverage Claims
               Other PiIPDMD (Personal injury/                                Warranty                                           (arising from provisionally complex
               Property Damagerongfui Death)                              Other Breach of Contract/Warranty                      case type listed above) (41)
               Tort                                                  Collections (e.g., money owed, open                Enforcement of Judgment
                    Asbestos (04)                                         book accounts) (09)                               Enforcement of Judgment (20)
               -       Asbestos Property Damage                           Collection Case-Seller Plaintiff                       Abstract of Judgment (Out of
                       Asbestos Personal injury/                          Other Promissory Note/Collections                           county)
                             Wrongful Death                                   Case                                               Confession of Judgment (non-
                   Product Liability (not asbestos or              -
                                                                     insurance Coverage (not provisionally -         -       -        domestic relations)           - --    -

                       toxIc/envIronmental) (24)              -          complex) (18)                                          Sister State Judgment
                   Medical Malpractice (45)                              Auto Subrogation                                       Administrative Agency Award
                       Medical Malpractice-                              Other Coverage                                             (not unpaid taxes)
                             Physicians & Surgeons                   Other Contract (37)                                        Petition/Certification of Entry of
                       Other Professional Health Care                    Contractual Fraud                                          Judgment on unpaid Taxes
                             Malpractice                                 Other Contract Dispute                                 Other Enforcement of Judgment
                   Other PiIPDD (23)                              Real Property                                                       Case
                       Promises Liability (e.g.. slip                Eminent Domain/inverse                             Miseoilanoous Civil Complaint
                             and fail)                                   Condemnation (14)                                 RICO (27)
                       Intentional Bodily injurylPDD                 Wrongful Eviction (33)                                other Complaint (not spec/fled
                             (e.g., assault, vandalism)                                                                         ebove) (42)
                                                                     Other Real Property (e.g., quiet title) (26)
                       intentional infliction of                         Wit of Possession of Real Property                     Declaratory Relief Only
                             Emotional Distress                                                                                 injunctive Relief Only (non-
                                                                         Mort gage Foreclosure
                       Negligent infliction of                                                                                        harassment)
                                                                          Quiet Title
           -               Emotional Distress -       -   -   -
                                                                   --Other Real. Property (not-omlncnt -                        Mechanics Uen
--H   -                                                                                                          -   - -  -   -
                                                                                                                                Other Commercial Complaint - -
                     Other P1/PornO                                        domain, lsnd/ordftenant,
             Non-Pi/POIWo (Other) Tort                                     foreclosure)                                               Case (nort-complex)-cornplex)
                                                                  unlawful Detainer                                             Other Civil Complaint
                Business Tort/Unfair Business
                                                                                                                                     (non-tort/non-complex)
                    Practice (07)                                     Commercial (31)
                Civil Rights (e.g., discrimination,                                                                     Miscellaneous Civil Petition
                                                                      Residential (32)                                     Partnership and Corporate
                     false arrest) (not civil                         Drugs (38) (If the case Involves Illegal
                     harassment) (Ga)                                                                                           Governance (21)
                                                                           drugs, check this item; otherwise,              Other Petition (not spec/tied
                Defamation (e.g., slander, libel)                         report as Commercial or Residential)
                      (13)                                                                                                      above) (43)
                                                                  Judicial Review                                               Civil Harassment
                  Fraud (16)                                          Asset Forfeiture (05)                                      Woricplace Violence
                Intellectual Property (10)                            Petition Re: Arbitration Award It 1)
                Professional Negligence (25)                                                                                     Eider/Dependent Adult
                                                                      Writ of Mandate (02)                                            Abuse
                    Legal Malpractice                                     Writ-administrative Mandamus                           Election Contest
                    Other Professional Malpractice                        Writ-Mandamus on Limited Court                         Petition far Name Change
                        (not med/ca/or legal)                                 Casa Matter                                        Petition for Relief From Late
                 Other Nor,-Pt/PDN/O Tort (35)                            Wit-Other Umited Court Case                                 Claim
             Employment                                                       Review
                                       -'                                                                                       'Other Civil Petition
                Wrongful Termination (Se)                             Other Judicial Review 39)
                Other Employment (15)                                     Review of Health fficer Order
                                                                          Notice of Appeal-Labor
                                                                              Commissioner Aegeals
            cM.010(Rev.Juyl,2007]                                                                                                                                p.tezerl
                                                                     CIVIL CASE COVER SHEET




                                                                      Exhibit A Page 77
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 68 of 84 Page ID #:79



                         COPY
     SHORTTITLEi PRO WATER SOLUTIONS v. ANGIE'S LIST at al
           .                                                                                              OA$U NUMBER
                                                                                                                                  19 ST CV 31643
                                                     civiL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                  This Form is required pursuant to Local Rule 2,3 in all new civil C060 filings In the Los Angeles Superior Court.



           Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type In
                   Column A that corresponds to the case type indicated In the Civil Case Cover Sheet,

           Step 2: In Column B, check the box for the type of action thatbestdescribes the nature of the case.


           Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                    chosen.
                                                                                                                                                              im
                                                                                                                                                              (S

                                              Applicable Reasons for Choosing Court Filing Location (Column C)

   1. Class actions must be flied in the Stanley Mask Courthouse, Central District.          Location where petitioner resides.
   2, Permissive filing In central dtstiloL                                                  Locatlonwheraln dfenden&rdspondent Functions wholly,
   3. Location where cause of action arose.                                                  Location where one or more of the parties reside.
   4, Mandatory personal Injury fling In North District.                                    Location of Labor Commissioner Office.
   5. Location where performance required or defendant resides.                             Mandatory filing location (Hub Cases - unlawful detainer, limited
                                                                                         non-collection, limited collection, or personal Injury).
   B. Location of property or permanently garaged vehicle.




                 IWIIR         Auto (22)               0 MIOO Motor Vehicle Personal Injury/Property DamageM/rongfui Death
                                                                                 -                                                            1,4,11
      ot
      to
                       Uninsured Motorist (45)         0 A7110 Personal Injury/Property DaniageNmngfui Death         -   Uninsured MotorIst   1,4,11

                                                       o A6010 Asbestos Property Damage                                                       1, 11
                            Asbestos (0 4)

                                                       o A7221 Asbestos- PsrsonallnJuayWrongfulDeath
                                                           -
                                                                                                              _________________________
                                                                                                                                              1:11    -   -




      e                 Product Liability (24)         0 A7250 Product Liability (not asbestos or toxlo/enviranmantal)                        1, 4, 11
      a-

                                                       o A7210 Medical Malpractice Physicians & Surgeons                                      1, 4. 11
                      Mediae[ Malpractice (48)                   .

                                                       o A7240 Other Professional Health Core Malpractice
                                                                      .                                                                       1,4, 11
           02
           ti                                          0 A7260 Promises Liability (e.9., slip end fail)
                           Other Personal                                                                                                     1,4, 11
      C,                   Injury Property             0 A7230 Intentional Bodily Injury/Property DamageMrongfui Death (e.g.,
                                                                assault, vandalism, etc.)                                                     1, 4, 11
           a              Damage Wrongful
                             Death (23)                0 A7270 Intentional Initiation of Emotional Distress                                   1,4, 11

                                                       Cl A7220 Other Personal injury/Property Damage/Wrongful Death                          1 4, 11




     LASO CIV 100 Rev. 12/18
                                                      CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
     For Mandatory Use
                                                 .       AND STATEMENT OF LOCATION                                                            Page 1 of 4
                                                                                                                              .




                                                               Exhibit A Page 78
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 69 of 84 Page ID #:80




   5HoRTTITLE; PRO WATER SOLUTIONS v. ANGIE'S LIST at al.                                           ASE NUMBER
                                                                                                 JC

                                                                    Still?,          1
                                                                                     1
                                                                                     4420 WIN NN


                                                                                                                          ?fl9
                       Business Tort (07)         0 A6029 Other CommercIal/Business Tort (not fraud/breach of contract)                 1, 2, 3

      .                 Civil Rights (08)         Cl A6005 Civil RIghts(DcrIminatlon                                                    1.2,3

                        Defamation (13)           0 A6010 OefamatIon(slander/llbel)        -                                            1,2,3
            75
     -
                           Fraud (16)             0 A6013 Fraud (no contract)                                                           1,2, 3

     12                                           0 A6017 Legal Malpractice                                                             1 Z. a
                                                                                                                                         ,
     o n,         Professional Negligence (25)
        m                                         0 A8050 Other Professional Malpractice (not medical or legal)                         1,2,3
     0't
     zo
                           Other (35)             0 A6025 Other Non-Personal Injury/Property Damage Ion                                 1, 2.3

                   Wrongful TerminatIon (36)      0 A6037 Wrongful Termination                                                          1.2, 3
      E
      0                                           0 A6024 Other Employment Complaint Case                                               I, 2, 3
      -a            Other Employment it 5)
       F                                          0 A6109 Labor Commissioner Appeals                                                    10
      LU

                                                  O A5004 Breach of Rental/Lease Contract (not unlawful detalner or wrongful
                                                           eviction)                                                                    2.6
                  Breach of Contract/ Warranty                                                                                          2, 5
                              (06)                O P6008 ContractNverranty, Breath -Seller Plaintiff (no fraud/negligence)
                        (not Insurance)           0 AUDIO Nogligent Breach of Conlrecarmnty (no fraud)                                  1, 2. 5

                                                  O A6028 Other Breech of ContractAan'anty (fbI fraud or neglIgence)                    1,2,5

      t                                           0 A6002 Collections Case-Seller Plaintiff                                             6.6. 11
                        CollectIons (09)
                                                  0 A6012 Other Promissory Note/Collections Case                                       5,11
      C-,
                                                  O A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                   5, 6, 11
                                                           Purchased on or_after_January _1._2014
                   Insurance Coverage (18)        0 P6015 Insurance Coverage (not complex)                                                2, 5, 8

                                                  W A6009 Contractual Fraud                                                                    3, 6
                      Other Contract (37)         0 P6031 Tortlous Interference                                                        1,2,3, 5
                                                  o   P6027 Other Contract Oiapule(not breachllnsurance/fraudlnegllgence)              1, 2, 3, 6, 9

                   Eminent Domalrulnversa         o P7300 Eminent oomalruCondemnalion                 Number of parcels                2,6
                     Condemnation (14)

      0.            Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                        2.6
      2
      0-
                                                 0 A6018 Mortgage Foreclosure                                                          2,6
      0
                   Other Real Property (26)      0 A6032 Quiet Title                                                                   2.6
                                                 o    A6060 Other Real Property (not eminent domain, lendlordftenant, foreclosure)     2.6

                 Unlawful Delalner-Comrnerclal   0 A6021 Unlawful Delalner-Commerclal (not drugs or wrongful eviction)                 6, 11
      C
                 Unlawful Detolner-Realdenllal
                                                 0 P6020 Unlawful Detalnor-Realdentlal (not drugs or wrongful eviction)                6.11
      o
                     Unlawful Delalner-               A6020FUnlawful Detalner-Post-Foreclosure                                         2.6, 11
                    Post-Foreclosure_(34)
                 Unlawful Oetelner-Drugs (36)    0 P5022 Unlawful Detainer-Drugs                                                       2,6, 11


                                                 CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
   LASC CIV 109 Rev. 12/16
                                                    AND STATEMENT OF LOCATION                                                          Page 2 of 4
   For Mandatory Use




                                                           Exhibit A Page 79
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 70 of 84 Page ID #:81




   SHORT TITLE:    PRO WATER SOLUTIONS v. ANGIE'S LIST at al.                                            E NUMBER




                     4çcwftEzas4o*JS


                        Asset Forfeiture (05)
                                                      r
                                                      0 A6108 Asset Forfeiture Case
                                                                                                      ME       MN



                                                                                                                             2,3, é
                                                                                                                                    Oflb   119 1511- P




                     Petition re Arbitration (11)     0 A6115 Petition to Compei/ContlrmNacateAsbitratlon                    2,5

                                                      0 A6151 Wilt Administrative Mandamus
                                                                      -                                                      2,8
                        Writ of Mandate (02)          0 A6152 Wilt- Mandamus on Limited Court Case Matter                    2
                                                      0 A6153 Writ -Other Limited Court Case Review                          2

                     Other Judicial Review (39)       0 A8150 OtherWrlt (Judicial Review                                     2,8

                   Ajitltnist/Trade Regulation (03)   0 A6003 Antitrust/Trade Regulation                                     1.2, 8
          C
          0
          a           Construction Defect (10)        0 A6007 Construction Defect                                            1,2.3
          -J
                     Claims involving Mass Tort
                                (40)                  o   A6006 Claims Involving Mass Tart                                   1,2,8
          E
          0
          U           Securities Lltigetion (28)      0 A8035 Securities Litigation Case                                         2, 8
          Z,
                            Toxic Tort
          o                                           o A6036 Toxic Tart/Environmental                                       I, 2, 3, 8
                        Environmental (30)
                    Insurance Coverage Claims
          0-          from Complex Case (41)          0 A6014 insurance Coverage/Subrogation (complex case on')              1,2, 5,8

                                                      o A6141 Sister State Judgment                                          2.5, 11
                                                      O A6160 Abstract of Judgment                                           2.6
     (1)
     E E                   Enforcement                0 A6107 Confession of Judgment (non-domestic relations)                2.9
      C)
      2 -u               of Judgment(20)              0 A8140 Administrative Agency Award (not unpaid taxes)                2,8
      C                                               0 A6114 Petitioa/Certitiicate for Entry of Judgment on Unpaid Tax     2,8
     u-I o     -



                                                      0 A0112 Other Enforcement of Judgment Case                            2.8,9

                             RICO (27)                0 A6033 Racketeering (RICO) Case                                      1.2, 8
               =
                                                      0 A6030 Declaratory Relief Only                                        1.2,8
    s-
           H
           o             Other Complaints             0 A6040 injunctive Relief Only (not doniesticmarassrnent)             2.8
           =         (Not Specified Above) (42)       o   A6011 Other Commercial Complaint Case (non-tort/non-complex)      I, 2,8
    -C
                                                      0 A8000 Other Civil             (non-tort/non-complex)                1,2,8

                      Partnership Corporation
                                                      0 A6113 Partnership and Corporate Governance Case                     2,8
                         Governance (2 1)

                                                      0 A6121 Civil Harassment With Damages                                 2,3,9
        = c                                           0 A8123 Workplace Harassment With Damages                                  3, 9
                                                      D A8124 Elder/DependentAdult Abuse Case With Damages                  2,3,9
    -   t               Other Petitions (Not
     zi                Specified Above) (43)          0 A6180 Election Contest
    o                                                                                                                       2
        >
    2 'c3                                             0 A61I0 Petition for Change of Name/Change ofGender                   2,7
                                                      O A8170 Petition for Relief from Late Claim Law                       2.3.0
                                                      O A8100 Other Civil Petition                                          2.9




                                                    CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.3
   LASCClV1O9 Rev. 12/18
                                                       AND STATEMENT OF LOCATION                                            Page 3af4
   For Mandatory Use




                                                               Exhibit A Page 80
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 71 of 84 Page ID #:82




   SI4oRTTI1te:   PRO WATER SOLUTIONS v.ANGIES LiSTetal,                                CASE NUMBER




  Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C'for the
           type of action that you have selected. Enter the address Which Is the basis for the filing locatlon,.lncluding zip code.
           (No address required fdrclass .action cases).

                                                                     ADORS$;
     REASON:

         1.02.03.04.05.06.07. 08,0 9.010.011.



     CfTr.                                  STATE     I 7JP COOt'



  Step 5: Certification of Assignment: I certify that this case Is property filed In the Central                        District of
           the Superior Court of California,. County of Los Ahgéies (Code Civ. Proc., §392 at seq., and Local Rule 2.3(a)(1)(E)].




    Dated: September 5, 2019
                                                                                                         -~
                                                                                                         K-



    PLEASE HAVE THE FOLLOWING ITEMS COMPLETEDAND READY TO BE FILED IN ORDER TO PROPERLY
    COMMENCE YOUR NEW COURT CASE:
             Original Complaint or Petition.
             Ifilling a Complaint, a completed Summons form for issuance by the Clerk.
             Civil Case Covet Sheet Judicial Council form CM-01 0.
        4    Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
             02116).
             Payment in full of the filing fee, unless there is court orderforwalver, partial or scheduled payments.
             A signed orderappointing the Guardian ad Litem, Judicial Council form CIV-010, If the plaintiff or petitioner Is
    -        minor under iS years of age will be required by Court In order to issue a summons.

             Additional copies of documents to beconformed by the Clerk. Copies of       cover sheet and this addendum
             must be.served along with the summons and complaint, or other initiating pleading in the case.




                                          CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
   LAsc civ we Rev, 12/18
                                             AND STATEMENT OF LOCATION                                               Page 4of4
   For Mandatory Use




                                                    Exhibit A Page 81
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 72 of 84 Page ID #:83




                   SUPERIOR COURT OF CALIFORNIA                                  .


                      COUNTY OF LOS ANOELES
    COURTHOUSE ADMEN:                                        .                                           FILED
   Spring Street Courthouse                                                                       SuooñorCoudofCfl1orn10
                                                                                                   CountoltosAnee
   312 North Spring Street, Los Angeles, CA 90012
                                                                                                      09/06/2019
                       NOTICE OF CASE ASSIGNMENT
                                                                                                        Slave Otow    Dopuly
                          UNLIMITED CIVIL CASE

                                                                                      ME N MDR.
    Your case Is assigned for all purposes to the judicial officer Indicated below.   19STCV31643

                           THIS PORM IS TO BE SERVED WITH THE SUNRVtONS AND COMPLAIN
                 ASSIGNED JUDGE              DEPT I ROOM I                       ASSOt4EI) JUDGE           I DEPT I ROOM
           Yvette M, palazuslos             9




     Olvento tbcPlnlntitT/Croas-CounplalnnnVAttnrnoy of Record   .   Sherri ft Carter, Executive Officer / Clerk of Court
     on 09/06/2019                                                          By Steve Drew                            Deputy Clerk
                 (Orno)
 LACIVIOO (Rev 8/18)       NOTICE OF CASE ASSIGNMENT                       -   UNLIMITED CIVIL CASE
 LASC Approved 05/08




                                                  Exhibit A Page 82
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 73 of 84 Page ID #:84



                                     INSTtWCt101'lS FOR HANDLING UNLTMTI'EI) CIVIL CASES

  The following critical provisions of the California Rules of Court, Title 3 Division 7,05 applicable in the Superior Court, are summarized
  for your assistance.

  Afl1LLCATION
  The Division 7 Rules were effective January 1, 2007, They apply to all general civil cases.

  PRIORITY OVER (YrELER RULES
  1'he Division 7 Rules shall have priority over all otherLooniRuies to the extent the others are inconsistent,

  CHALLENGl TO ASSIGNED JUDGE
  A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
  to ajudge, or if a party has not yet appeared, within 15 days of the first appearance.
  TIMJ! STANDARDS
  Cases assigned to the Independent CalendarIng Courts will be subject to processing under the following time standards:

  COLAiNXS
  All complaints shall be served within 60 days of filing and proof of service shalt be filed within 90 days.

  CROSS-CON)?LAENTS
  Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is fled. Cross-
  complaints shall be served within 30 days of the filing date and aprouf of service filed within 60 days of the filing date.


  A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
  complaint. Counsel raust be filly prepared to discuss tim folidwing Issues: alternative dispute resolution, blftwcation, settlement,
  trial data, and expert witnesses.
 l?nAl, STATUS CONFERENCE
 The Court will require the parties to attend a final status conference not more than 10 clays before the scheduled trial date, All
 patties shall have motions in limino, bifurcation. motions, statements of ma jor evidentiary issues, dis,positive motions, requested
 form jury instructions, special Jury instructions, and special jury verdicts-timely filed and served prior to the conference. These
 matters may be heard and resolved at this conference, At least five days before tills conference, counsel must also have exchanged
 Wit of exhibits and witnesses, and have submitted to the court it brief statement of the ease to be rend to the Jury panel as required
 by Chapter Three of the Los Angeles Superior Court Rules.

 SANCTIONS
 The court will impose ap p ropriate sanctions for the failure or refusal to comply with Chapter Three Rules, 'orders made by the
 Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
 or If appropriate, on counsel for a party.

 This Is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to time above provisions Is
 therefore not it guarantee against the Imposition of sanctions 'under Trial Court Del a y Reduction. Careful Je!.4lng_attci.
 compliance'wl.tlrtlaractuttFChiipttFRUIeTIiithpiiiitic
 Class ACtIQ,IS
 Pursuant to Local Rule 2,3, all class actions shall be filed at the Stanley Iviosk Courthouse and are -randomly assigned to a complex
 judge at the designated complex courthouse. if the case Is found not to be a class action It will be returned to an Independent
 Calendar Courtroom for all purposes.                                                                             -




 *Provisionally Complex Cases
  Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
 complex status. 'if the ease Is deemed to be complex within the meaning of California Rules of Court 3.400 at seq., it will be
  randomly assigned to a complex judge at the designated complex courthouse, if the ease is found not to be complex, It will be
 -returned to an Independent Calendar Courtroom fbr all purposes.




 LACIV 100 (Rev 0/18)        NOTICE OF CASE ASSIGNMENT                       -   UNLIMITED CIVIL CASE
 LASC Approved 05/00.                                                                            -




                                                    Exhibit A Page 83
                Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 74 of 84 Page ID #:85




                                                     VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                        The Early Organizational Meeting Stipulation, Discovery
                                                     Resolution Stipulation, and Motions in Limine Stipulation are
                       Superior Court olCalifornia
                       County of LOB Angeles
                                                     voluntary stipulations entered into by the parties. The parties
                                                     may enter Into one, two, or all three of the stipulations;

            •                                        however, they may not alter the stipulations as written,
                                                     because the Court wants to ensure uniformity of application.
                       Los Angeles County
    •                  Bar Association               These stipulations are meant to encourage cooperation
                       Litigation Section

        •              Los Angeles County
                                                     between the parties and to assist in resolving issues in a
        •              Bar Association Labor and
        •              Employment Law Section        manner that promotes economic case resolution and Judicial
        •                                            efficiency.
                        GiS,liy
                           A4 eLirii.qn
                         IH Uthi                        The    following   organizations    endorse    the   goal   of
                       Consumer Attorneys
•                      Association of Los Angeles    promoting efficiency in litigation and ask that counsel
                                                     consider using these stipulations as a voluntary way to
                                                     promote communications and procedures among counsel
                                                     and with the court to fairly resolve issues in their cases.

                                                     *Los Angeles County Bar Association Litigation Section*
        •              Southern California
                       Defense Counsel
                                                               • Los Angeles County Bar Association

                       4IIOUIIlI5jflIILtAIlI
                                                                   Labor and Employment Law. Section+

                       Association of
                       Business Trial Lawyers   .        *Consumer Attorneys Association of Los Angeies


                                                              *Southern California Defense Counsei


                                                              *Association of Business Trial Lawyers

        •              California Employment
                       Lawyers Association                *California Employment Lawyers Association*


                          LAdy 230 (NEVJ
                          LASC Approved 4-11
                          For optional Use




                                                              Exhibit A Page 84
      Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 75 of 84 Page ID #:86




             thB&AODRE8S0FATT01*JEVCRPMn'V4nIOIJTATTOR'IB'fl                 I   CTAThOARKVMDER   F




                      TELEPHONE NO,:                             FAX NO, (Optional):




         I            STIPULATION            -   EARLY ORGANIZATIONAL MEETING                     I                               I


                 This stipulation Is Intended to encourage cooperation among the parties at an early stage in
                 the litigation and to assist the parties In efficient case resolution.
• .

                 The parties agree that:                                                                        -




                 1. The parties commit to conduct an Initial conference (In-person or via teleconference or via
                     videoconfererice) within 15 days from the date this stipulation is signed, to discuss and consider
                    whether there can be agreement on the following:

                           Are motions to challenge the pleadings necessary? if the issue can be resolved by
                           amendment as of right, or if the Court would allow leave to amend, could an amended
                           complaint resolve most or all of the issues a demurrer might otherwise raise? if so, the parties
                           agree to work through pleading issues so that a demurrer need only raise Issues they cannot
                           resolve. is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
•                          would some other type of motion be preferable? Could a voluntary targeted exchange of
                           documents or information by any party cure an uncertainty In the pleadings?

                          Initial mutual exchanges of documents at the "core' of the litigation. (For example, In an
                          employment case, the employment records, personnel file and documents relating to the
                          •conduct In question could be considered "core." in a 'personal injury case, an incident or
                          police report, medical records, and repair or maintenance records could be considered
                          "core.");

                      c, Exchange of names and contact Information of witnesses;

                           Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                           indemnify or reimburse for payments made to satisfy a Judgment;

                           Exchange of any other information that might be helpful to facilitate understanding, handling,
                           or resolution of the case in a manner that preserves objections or privileges by agreement;

                           Controlling issues of law that, it resolved early, will promote efficiency and economy In other
                           phases of the case. Also, when and how such issues can be presented to the Court;

                           Whether or when the case should be scheduled with a settlement officer, what discovery or
                           court ruling on legal issues Is reasonably required to make settlement discussions meaningful,
                           and whether the parties wish to use a sitting judge or a private mediator or other 0pt10n8 as
                 LAOIV 229 (Rev 02/18)                                                                      -

                 LASC Approved 04/11         STIPULATION         -   EARLY ORGANIZATIONAL MEETING
                 For Optional use                                                                                   Page 1 of 2




                                                               Exhibit A Page 85
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 76 of 84 Page ID #:87




       WIORT U1U                                                                       CA92 uMaa




                   discussed in the Alternative Dispute Resolution (ADR) Information Package served with the
                   complaint;

               h. Computation of damages, including documents, not privileged or protected from disclosure, on
                   which such computation is based;

               I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                   www,lacourt org under "Civil' and then under" General Information").

       2.          The time for a defending patty to respond to a complaint or cross-complaint will be extended
                   to                         for the complaint, and                            for the cross-
                                                                        _________________________
                              (INSERT DATE)                                     (INSERT DATE)
                   complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                   and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                   been found by the Civil Supervising Judge due to the case management benefits provided by
                   this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civil',
                   click on "General inforthatIon, then click on "Voluntary Efficient Litigation Stipulations".

                   The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                   and Early Organizational Meeting Stipulation, and if desired, a proposed orde summarizing
                   results of their meet and confer and advising the Court of any way it may assist the parties'
                   efficient conduct or resolution- of the case. The parties shall attach the Joint Status Report to
                   the Case Management Conference statement, and file the documents when the CMC
                   statement is due.

                   Referenàes to "days" mean calendar days, unless otherwise noted. if the date for performing
                   any act pursuant to this stipulation fails on a Saturday, Sunday or Coutholidly, then the tiYiW
                   for perLforming that act shall be extended to the next Court day

       The following parties stipulate:
       Date:

                        (TYPE OR PRINT NAME)    .                                (ATTORNEY FOR PLAINTIFF)
       Date:

                        (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
       Date:

                        (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
       Date:

                        (TYPE OR PRINT NAME)                                '   (ATTORNEY FOR DEFENDANT)
       Date:

                        (TYPE OR PRINT NAME)                              (ATTORNEY FOR
       Date:

                        (TYPE OR PRINT NAME)                              (ATTORNEY FOR
       Date:

                        (TYPE OR PRINT NAME).                             (ATTORNEY FOR

       LACIV 229 (Rev 02/15)
       LA80 Approved 0411 1        STIPULATION - EARLY ORGANIZATIONAL MEETING                               Page 2ot2




                                                    Exhibit A Page 86
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 77 of 84 Page ID #:88




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                  TELEPHONE No.:                            FAX NO. (Optional):




   I                     STIPULATION - DISCOVERY RESOLUTION                                 I                                  I

            This sti pulation is Intended to provide a fast and informal resolution of discovery Issues
            through limited paperwork and an informal conference with the Court to aid In the
            resolution of the Issues.

            The parties agree that:

                  Prior to the discovery cut-off In this action, no discovery motion shall be flied or heard unless
                  the moving party first makes a written request for an Informal Discovery Conference pursuant
                  to the terms of this stipulation.

                  At the informal Discovery Conference the Court will consider the dispute presented by parties
                  and determine whether it can be resolved informally. Nothing cot forth herein will preclude a
                  party from makinga record at the conclusion of an informal Discovery Conference, either
                  orally or in writing.

                  Following a reasonable and good faith attempt at an informal resolution of each issue to be
                  presented, a party may request an informal Discovery Conference pursuant to the following
                  procedures:

                              The party requesting the informal Discovery Conference will:

   -                     I.      File &Request for informal Discovery Conference with the clerk's., office on the.
                                 approved form (copy attached) and deliver a courtesy, conformed copy to the
                                 assigned department;

                         U.      include a brief summary of the dispute and specify the relief requested; and

                        Hi.      Serve the opposing party pursuant to any authorized or agreed method of service
                                 that ensures that the opposing party receives the Request for Informal Discovery
                                 Conference no later than the next court day following the filing.

                              Any Answer to a Request for Informal Discovery Conference must:

                         I.      Also be flied on the approved form (copy attached);

                         H.      Include a brief summary of why the requested relief should be denied;

                                                STIPULATION - DISCOVERY RESOLUTION
            For                                                                                                  Page I of 3




                                                          Exhibit A Page 87
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 78 of 84 Page ID #:89




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                       Ill.   Be flied within two (2) court days of receipt of the Request; and

                       iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                              method of service that ensures that the opposing party receives the Answer no
                              later than the next court day following the filing.

                      No other pleadings, including but not limited to exhibits, declarations, or attachments will
                      be accepted.

                      If the Court has not granted or denied the Request for Informal Discovery Conference
                      within ten (10) days following the filing of the Request, then it shall be deeyned to have
                      been denied. If the Court acts on the Request, the parties will be notified whether the
                      Request for Informal Discovery Conference has been granted or denied and, if granted,
                      the date and time of the informal Discovery Conference, which must be within twenty (20)
                      days of the filing of the Request for Informal Discovery Conference,

                      if the conference is not held within twenty (20) days of the filing of the Request for
                      Informal Discovery Conference, unless extended by agreement of the parties and the
                      Court, then the Request for the Informal Discovery Conference shall be deemed to have
                      been denied at that time.

             if (a) the Court has denied a conference or (b) one of the time deadlines above has expired
             without the Court having acted or (c) the Informal Discovery Conference Is concluded without
             resolving the dispute, than a party may file a discovery motion to address unresolved issues.

             The parties hereby further agree that the time for making a motion to compel or other
             discovery motion Is tolled from the date of filing of the Request for Informal Discovery
             Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
             filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
             by Order of the Court.

             It is the understanding and intent of the parties that this stipulation shall, for each discovery
             dispute to which it applies, constitute a writing memorializing a 'specific later date to which
             the propounding [or demanding or. requesting party and the responding party have agreed In
             writing," within the meaning of Coe Civil Procedure sections 2030.300(c); 2031.320(c), and
             2033.290(c).

             Nothing herein will preclude any party from applying ax pane for appropriate relief, inbludlng
             an order shortening time for a motion to be heard concerning discovery.

             Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
             terminate the stipulation.

       6. References to 'days" mean calendar days, unless otherwise noted. If the.date for performing
           any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
           for performing that act shall be extended to the next Court day.



                        ThW)
                        ,edo4/11         STIPULATION - DISCOVERY RESOLUTION
                        Use                                                                        -      Page 2of3




                                                 Exhibit A Page 88
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 79 of 84 Page ID #:90




       W1ORTTfltE                                                           CAEEHuMBCrn




       The following parties stipulate:

       Date:

                    (TYPE OR PRINT NAME)                                  (ATTORNEY FOR PLAINTIFF)
       Date:

              -     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
       Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
       Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
       Date:

                    (TYPE OR PRINT NAME)                      •   (ATTORNEY FOR           -               I
       Date:

                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR


       Date:

                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR




                                    STIPULATION   -   DISCOVERY RESOLUTION
       For                                                                                           Page 3 of 3




                                           Exhibit A Page 89
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 80 of 84 Page ID #:91




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    NMLr.MDAODRE!I OF ATTORNEY OR PNmwTHOUTAflOOUYI




                                                                FAX NO. (Optional):




                       INFORMAL DISCOVERY CONFERENCE
                 (pursuant to the Discovery Resolution Stipulation of the parties)
              This document relates to:
                 o Request for Informal Discovery Conference                                        -


                 F1 Answer to Request for Informal Discovery Conferenbe
               Deadline for Court to decide on Request:                      ____________________
                                                                                                    (Insert date 10 calendar days following filing or
               he Request).
          3, Deadline for Court to hold Informal Discovery Conference:                         _________________
                                                                                                                            (Insert date 20 calendar
               days following filing of the Request).
          4. For a Request for Informal Discovery Conference, briefly describe the nature of the
             discovery dispute, Including the facts, and legal arguments at Issue. For an Answer to
             Request for Informal Discovery Conference, briefly describe why the Court should deny
             the requested discovery, including the facts and legal arguments at issue.




          LASc Approved 04(11                           -- — ___ __
          For optional use                (pursuant to the Discovery Resolution Stipulation of the parties)




                                                             Exhibit A Page 90
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 81 of 84 Page ID #:92




    IwalloAODRa83 OP ATTORNEY OR PMTYWIHOUT AtTOrney:                  BTAT2OMMI/SEB           R,,,ind Ta Olsik" fl' 0W19




              TELEPHONE NO.:                             FAX NO, (Optional):
     E-MAIL ADDRESS (cpflonafl:
        ATTORNEY FOR (Name):
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:

    PLAINTIFF:                                                    -




    DEFENDANT:

                                                                                       CASE NUMBER:
                 STIPULATION AND ORDER                   -   MOTIONS IN LIMINE


          This stipulation Is intended to provide fast and Informal resolution of evidentiary
          Issues through diligent efforts to define and discuss such Issues and limit paperwork.


          The parties agree that

          1. At least        days before the final status conference, each party will provide all other                           -



             parties with a list containing a one paragraph explanation of each, proposed motion in
             limine. Each one paragraph explanation-must identify the substance of a single proposed._.
             motIon In limine and the grounds for the proposed motion.

          2. The parties thereafter will meet and confer, either In person or via teleconference or
             videoconference, concerning all proposed motions in limine. In that meet and confer, the
             parties will determine:

                    Whether the parties can stipulate to any of the proposed motions. If the parties so
                    stipulate, they may flle,a stipulation and proposed order with the Court.

                    Whether any of the proposed motions can be briefed and submitted by means of a
                    short joint statement of Issues. For each motion which can be addressed by a short
                    joint statement of Issues, a short joint statement of Issues must be filed with the Court
                    10 days prior to the final status, conference. Each side's portion of the short joint
                    statement of Issues may not exceed three pages. The parties will meet and confer to
                    agree on a date and manner for exchanging the parties' respective portions of the
                    short joint statement of issues and the process for filing the short joint statement of
                    issues.

          3. All proposed motions In limine that are not either the subject of a stipulation or briefed via
             a short joint statement of Issues will be briefed and flied in accordance with the California
             Rules of Court and the Los Angeles Superior Court Rules.



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          LAsc Approved o4lll            STIPULATION AND ORDER — MOTIONS IN LIMiNE
          For Optional Use                                                                                          Page 1 of 2




                                                        Exhibit A Page 91
        Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 82 of 84 Page ID #:93




               SHORT 'lilt                                                       OM KUMOEm




               The following parties stipulate:
•
               Date:


    •                        (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
•              Date:

                             (TYPE OR PRINT NAME)                  -        (ATTORNEY FOR DEFENDANT)
               Date:

                             (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
               Date:

                             (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
               Date:

                             (TYPE OR PRINT NAME)                       (ATTORNEY FOR
•              Date:

                             (TYPE OR PRINT NAME)                       (ATTORNEY FOR
               Date:

                             (TYPE OR PRINT NAME)                       (ATTORNEY FOR



               THE COURT SO ORDERS.

                 Date:


                                                                                  JUDICIAL OFFICER




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               LAC"'Approved 04/11
                                       STIPULATION AND ORDER -MOTIONS IN LIMINE                         Page 2 or 2




                                                    Exhibit A Page 92
            Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 83 of 84 Page ID #:94
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                                               Superior Court of California, County of Los Angeles




                    What is ADR?
                    ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
                    mediation, arbitration add settlement conferences. When ADR is done by phone or computer, it may be called Online
                    Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.

                    Advantages        of   ADR
                          •    Saves Time; ADR is faster than going to trial,
                          •    Saves Money: Parties can save on court costs, attorney's fees and witness fees.
                         •     Keeps Control with the parties: Parties choose their ADR process and provider for voiuntary ADR.
                         •     Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.


                    Disadvantages of ADR
                         •     Costs: if the parties do not resolve their dispute, they may have to pay for ADR and Utigation and trial.
                         •     No Public Trial: ADR does not prOvide a public trial or a decision by a Judge or jury.

                    Main Types of ADR:
-

        .                1. Negotiation: Parties often talk with each other In person, or by phone or online about resolving their case with a
    -       -
                    -    -   settlement agreement Instead-of atr1a1. lithe parties haveiawyersthey will negotiate for their clients.

                         2. Mediation: in mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
                             strengths and weaknesses of their case, and works with theta to try to create a settlement agreement that is
                             acceptable to all, Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                                           Mediation may be appropriate when the parties
                                             • want to work out a solution but need help from a neutral person.
                                             •. have communication problems or strong emotions that interfere with resolution.
                                           Mediation may not be appropriate when the parties
                                             • want a public trial and want a Judge or Jury todecide the outcome.
                                             • lack equal bargaining power or have a history of physical/emotional abuse.

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                    California Rules or court, rule 3.221




                                                                    Exhibit A Page 93
Case 2:19-cv-08704-ODW-SS Document 1-1 Filed 10/09/19 Page 84 of 84 Page ID #:95




              Arbitration: Arbitration Is less formal than trial, but like trial, the parties present evidence and arguments to the
              person who decides the outcome. in "binding" arbitration, the arbitrator's decision is final; there is no right to
              trial. in "nonbinding" arbitration, any paity can request a trial after the arbitrator's decision. For more
              information about arbitration, visit ip//www.courts.ca,gov/programs-adr,htm

              Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and arc often hold dose to the trial
              date. The parties and their attorneys meet with a Judge or settlement officer who does not make a decision but
              assists thtparties_invaivaingt sttensths_an±wffiknessespfthe case and in negotiating asettiemetit,            ________   - -
              For information about the Court's MSC programs for civil cases, visit: www.iacourt.org/division/civil/settiement




   Los Angeles Superior Court ADR website: www.iacourt.org/ciivision/clvii/settlement
   For general information and videos about ADR, visit http://www.courts.ca.gov/prograrns.adr.htm




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                                                   Exhibit A Page 94
